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                                    Psychological Evaluation

Identifying Information
Child:       S.M.     , DOB:
Address:
Mother: Maegan           (consent signed 10/9/2023)
Father: Nicholas McGuffin
Referral source: S.M. attorney, Janis Puracal

Assessment Information
Evaluator: Julie Poehlmann, PhD, psychologist (Wisconsin license #2117)
Dates of assessment:
       10/28/23 (returned completed forms)
       10/29/23 (Zoom interview with S.M. )
       11/20/23 (Zoom interview with Nick)
Date of report: 12/27/23
Referral questions: What is the current state of S.M. relationship with her father, and how was
 S.M. and the father-child relationship affected by his incarceration?


Assessment Tools
Parent-Adolescent Relationship Scale (PARS), adolescent form
       Score re: mother = 27
       Score re: father = 16
Parent-Adolescent Relationship Scale (PARS), parent form (not completed by either parent)
Strengths and Difficulties Questionnaire (SDQ), youth self-report, age 11-17 (English, US version)
       Scale scores
               Emotional Problems: 3
               Conduct Problems: 1
               Hyperactivity: 1
               Peer Problems: 2
               Prosocial: 9
       Summary scores
               Total difficulties: 7
               Externalizing problems: 2
               Internalizing problems: 5
Child Adolescent Trauma Screen (CATS)-youth report
       One item endorsed --“other stressful or scary event”
       Symptom score = 10

Observations
     S.M.        is a 16-year-old white girl who lives in       , Oregon. For this assessment,
she completed several self-report questionnaires and participated in a video interview. During
her video interview, S.M. appeared alert and oriented, and she was neatly groomed. She had a
calm demeanor and generally low affect, punctuated at times with verbal and nonverbal



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expressions of sadness as well as occasional smiles that were appropriate to the content
discussed. During the interview, she was verbally articulate, open about answering questions,
and reflective in her responses.

Results of Self-Report Questionnaires
 S.M. completed the PARS-Adolescent form twice, once regarding her relationship with her
father and once regarding her relationship with her mother. The PARS is a 9-item scale, with
higher scores indicate more positive relationships. The items focus on youth identification with
parents and perceived parental support. Scores range from 0 to 32, with a cutoff score of 24
indicating a quality parent-child relationship. The score for her relationship with her father was
significantly lower than the score for her relationship with her mother. Only the score for her
mother indicated a quality parent-child relationship.

The parent form of the PARS was given to S.M. mother and father through S.M. attorney.
Her father Nicholas (Nick) McGuffin preferred to participate in an interview rather than
completing the form, and her mother did not return the form.

S.M.   also completed the SDQ-adolescent self-report version, a widely used standardized
assessment about youth behaviors and emotions that includes 5 5-item scales and several
summary scores. For the problems scales (Emotional Problems, Conduct Problems, Hyperactivity,
and Peer Problems), higher scores indicate more concerns. For the Prosocial scale, a higher score
indicates more prosocial behavior. The Externalizing and Internalizing Problems summary scores
range from 0-20, with higher scores indicating more problems. All of S.M. scores on the SDQ
were in the “close to average” or “normal” range compared to other self-reports of youth in her
age range in the standardization sample.

During her interview, S.M. responded to screening questions on the CATS regarding trauma
experiences and symptoms. The CATS is a DSM-5 based checklist that includes 15 potentially
traumatic events or series of events, 20 posttraumatic stress symptom items, and 5 impairment
items. On the CATS, S.M. indicated that her father’s incarceration was stressful, scary, or
traumatic for her, and she also revealed that the current lawsuit is the most stressful current
event in her life. She did not report any other trauma experiences. S.M. reported that her
current symptoms almost always involve strong feelings in her body when she is reminded of
what happened (sweating, heart beating fast, upset stomach). About half the time she is trying
not to think about or talk about what happened or to not have feelings about it. About half the
time she is not able to remember part of what happened and she has bad feelings (afraid, angry,
guilty, ashamed) about what happened. S.M. indicated feeling anger and disappointment
because she believes that law enforcement officials didn’t even look for the person who actually
committed the crime for which her father was convicted and sentenced. S.M. also reported
experiencing trouble falling or staying asleep once in awhile. Despite these symptoms, she did
not endorse any impairment items, and her total CATS score was not in the clinical range. The
score and S.M. report of symptoms did not indicate the need for further diagnostic assessment
for Post-Traumatic Stress Disorder (PTSD).




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Current Context
 S.M. lives with her mother, -year-old half-brother, and maternal grandparents. She has a dog
and 3 cats, one of whom is her favorite. Her father currently lives in a town that is about 4 to 4.5
hours away from S.M. by car. He was released from prison nearly 4 years ago (right before the
pandemic started) after serving most of his 10 year sentence because of a wrongful conviction.

S.M.   is in 10th grade at                       , where she reportedly earns mostly As and gets
along well with her classmates and teachers. Her favorite courses are business classes such as
marketing. She is not involved in sports or extra-curricular activities, and she does not have a job
or volunteer position. She enjoys listening to music but does not like to read. S.M. indicated
that she likes to spend time on her phone, engaging with social media (e.g., Instagram and
SnapChat), and she likes to draw. S.M. reported that she has some casual friends at school, but
none of them are close friends except for her boyfriend, whom she has been dating for more
than a year. S.M. and her boyfriend go to school together and spend time at each other’s houses
(mostly his father’s house), sometimes going on road trips or spending the weekend together.
She said that they like to cook together, listen to music, walk around, or “hang out.” He lives
about 30 minutes away from her, and her mother usually brings her there, as S.M. does not yet
drive.

Youth Report of the Parent-Child Relationship
 S.M. reported that she is “really close” with her mother and that she always has been. She feels
like she can talk with her mother about anything. S.M. reported that her father’s absence
(because of incarceration) increased her closeness to her mother because she had access to only
one parent on a daily basis for most of her life. If S.M. mother is not available, S.M. feels that
she can talk with her maternal grandmother, with whom she has lived for 2 years. S.M. reported
that she was also close with her paternal grandparents, but they died in the recent past (her
paternal grandfather died less than 2 years ago, and her paternal grandmother died in October
2023, a week prior to her interview). S.M. described her relationship with her younger brother
as “normal” in that they are close but have some low-level conflict over mundane things. She
recently met her younger half-sister (who is          months old), and S.M. enjoyed their time
together.

S.M.     indicated that she felt close to her father when he was incarcerated, but that their
relationship has become more distant since he was released from prison. While he was
incarcerated, they were able to maintain regular communication with each other through phone
calls, letters, and visits, facilitated by her paternal grandparents. They developed routines around
these communications, which were highly structured because of the limits imposed by the
carceral system (e.g., time limits on calls and visits, limits on where they saw each other and what
they could do). During his incarceration, S.M. father called her every day around the same
time, and they talked for 30-60 minutes. Her paternal grandparents took her to visit him once or
twice per month. In addition, Nick sent letters for special occasions or “just because”; S.M.
reported that she still has many of the letters. She thinks she wrote to him a few times, but not
often. They talked about his letters when they spoke on the phone, and she considered that as
her response to the letters.



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S.M.    described her earliest memory of her father occurring when she was between 3-5 years
old (after his arrest in August 2010, he spent time in a local jail). Her father was in county jail and
she saw him behind glass. She remembers not understanding the situation and taking a fake key
to try to “unlock” and release him. She said that she was not sad, but her main thought was that
she wanted to take him home. She remembers becoming frustrated because she could not touch
him, and the fake key wasn’t working. S.M. also reported that she has random memories, such
as waiting in line to see her father, going through security, and being told that she could not sit
in his lap during visits anymore, but that many memories of interacting with him in jail and prison
are ”blocked out,” or inaccessible to her.

Once Nick was transferred to prison, S.M. paternal grandparents took her to visit him
regularly; typically visits involved arriving on a Friday, visiting twice on Saturday and once on
Sunday, and then driving home. The visits in prison were in-person contact visits, where they sat
around a table. When she was very young she could sit on his lap during visits, but this was
prohibited when she was older. She recounted a visit with him at Snake River Correctional
Institution in Ontario, Oregon (which was about a 10 hour drive away) when she was between 7-
9 years of age. During the visit, she fell asleep on her father’s lap, and he woke her up at the end
of the visit. She became upset when she realized that he let her sleep through the visit, instead
of getting the opportunity to interact with each other. During prior visits, their good-bye routine
involved her turning around and making a face at him, while he mouthed “I love you”; however,
at the visit when she fell asleep, she didn’t turn around because she was angry. She thought that
she would be able to see him later that day so then she could engage in the routine again, but
there wasn’t a second visit on that particular weekend. She cried and wanted to talk to him to
tell him she was sorry for not saying good-bye, but she could not because of prison rules. The
memory still upsets her, and she cried while recounting the memory.

S.M.   describes the visits as following a routine that was supported by her paternal
grandparents. The visits between S.M. , her paternal grandparents, and her father continued
regularly until Nick was released from prison.

S.M.   discovered that her father was released from prison when her mother called her after
hearing about it on the radio (he was released December 2019). S.M. messaged her paternal
grandparents right away and was able to reach her father through her grandparent’s phone. She
was initially excited about his release, and for about 6 months after his release, their relationship
seemed positive. Nick was able to get a house and S.M. went over there regularly and he cooked
for her.

S.M. described a downward turn in her relationship with her father since late 2020. She thinks
that part of the change can be attributed to her growing up and realizing that her parents are not
perfect, like most teens. However, she feels that the biggest obstacle to their current relationship
is that their bond developed while her father was in prison, with his parents facilitating the
connection. Because all father-child communication during his years in prison was facilitated by
her paternal grandparents, S.M. feels like the support for the father-child relationship has



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diminished now that her paternal grandparents are deceased. Moreover, S.M. indicated that
she and her father no longer have the structure of daily time-limited calls and regular time-limited
visits to buoy their connection.

In addition to the concerns mentioned above, S.M. has also felt discomfort about being pulled
into a few verbal conflicts that have occurred between Nick and family members. Nick also
relocated to find work as a chef, and now he lives further away, making it more challenging to
see each other in person. S.M. reported that after not seeing her father in person for almost a
year, she saw him in August 2023 when she stayed with her half-sister and her half-sister’s
mother. Nick came over to visit during the day, and they had some 1:1 time in the car. S.M.
reported that it went well (“it was peaceful”). At the time of her interview, S.M. said that she
had plans to see them all again for Thanksgiving. She also reported that they have messaged each
other a couple of times per week and have been talking more since then.

S.M.    said that she wished that she had a stable relationship with her father and wished that he
had never been in jail or prison. She wished that she had a second parent to go to in her early
life, instead of having to rely solely on her mother for day-to-day support. When asked about her
future plans, she said she is not sure. She does not know if her future involves her father or not,
as she cannot picture it, but she wants to have a close relationship with him. In addition, S.M.
does not understand why she has trouble remembering many of her visits in the prison, but thinks
it may because his incarceration was “the worst thing that ever happened” to her and, along with
the current lawsuit, is “the most stressful thing” in her life. When asked if his wrongful conviction
affected her relationship with her father, S.M. said “Something really big is the fact that my
whole entire life—from my first memory and up until he was out—our whole relationship grew
out of the setting of him being in prison. When he got out, we couldn’t get used to the setting. If
he was never in jail, our relationship would be more stable.”

S.M.   reports that once, in 5th grade, she disclosed to another child that her father was in prison.
Since that time, she has not disclosed that information again except to “a friend or two” and her
boyfriend. She reports that she was not bullied in school. S.M. indicated that she chose not to
disclose information about her father’s incarceration because “I didn’t want them to think he did
it when he didn’t. I didn’t want people to think badly about him, even though he was innocent,”
and I didn’t want “them to dislike me because of it.”

Father Report of the Parent-Child Relationship
Nick reported that during his incarceration, he did everything in his power to connect with S.M. ,
with the support of his parents, including daily calls, frequent letters, and monthly visits.
However, he realizes that those type of interactions are qualitatively different than interacting
with a child on a daily basis, in person, at home. In addition to the day-to-day interactions, he
missed out on important events in S.M. life, for most of her life. Because he couldn‘t be there
for her on a day-to-day basis, he understands that her mother is the parent that S.M. is close
to. Now Nick feels “almost like a new parent to S.M. .”




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Since he returned to the community, he has been feeling like “a disconnected father.” When was
released from prison, he noticed that “we were different, but we weren’t used to it.” When they
interacted in person following his release, they didn’t know how to interact. The familiar
structures and routines were gone, and they didn’t know how to be with each other. Even though
he communicates with S.M. through SnapChat and occasional calls, he would like to connect
more all around. He feels like they need to build their relationship back up again, because the
foundations were built with the prison as the context. Back then, their daily phone calls were
structured; he asked her questions about her day, with the support of his parents, and she
answered his questions. Now he tries to ask her questions and she closes up, and without his
parents around, it is more difficult to reminisce and find new ways to connect. He also had to
move to get a job, which interfered with his ability to reconnect with S.M. .

Nick reported that he has recently tried a few new strategies to increase positive father-daughter
interactions. One is connecting daily with S.M. through SnapChat. At first, he was the one
reaching out, and now S.M. is also initiating interactions. Nick said that, at the time of his
interview, they had an 85-day streak of communicating on SnapChat, which was encouraging,
because it means that “every day we are in each other’s lives.” He is also happy that S.M.
enjoyed spending time with her younger sister, and that he was able to see them together. When
 S.M. visited in August, in addition to interacting with both girls, Nick brought S.M. food from
his job as a head chef at a restaurant. He asked her to try different dishes to see what she liked.
He sat with her while she ate, and they talk about her opinions of the food. In addition to visiting
more, Nick also hopes to spend half of the holidays with S.M. .

Summary
Both S.M. and Nick reported that his incarceration disrupted their relationship, in the past and
continuing into the present. S.M. was able to develop a close relationship with her mother, but
she missed out on daily interactions with her father because of his imprisonment. The father-
child bond was forged in a highly structured, unusual, and stressful context, and those routines
and structures no longer exist. Missing out on daily interactions for a prolonged period of time
resulted in an attachment disruption in the father-child relationship. S.M. ’s report on the PARS
mirrors this fact, with a significantly lower score for the father-child relationship than the mother-
child relationship. S.M. and Nick would like to have a closer relationship with each other, and
they are trying new strategies to reconnect.

While S.M. felt closer to her father while he was in prison compared to the present, in part
because of the routines they developed with the support of her grandparents, S.M. also has
trouble remembering specifics of most visits. She remembers some of the visits as distressing or
traumatic. Research shows that for young children, visiting a parent in jail behind glass can be
distressing and dysregulating (Poehlmann et al., 2015). While in-person contact visits are more
likely to strengthen the parent-child relationship, they can also trigger a range of emotions
related to ambiguous loss (Poehlmann-Tynan & Arditti, 2018; Poehlmann & Pritzl, 2019; Kremer
et al., 2022). Ambiguous loss can occur when a child’s parent is not present physically but is
present psychologically (as in the case of a parent who is incarcerated or missing), and there is
confusion, few details, or uncertainty about the situation (Boss, 2006). Ambiguous loss is often



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difficult for a person to process and integrate the loss into one’s life (Bockneck et al., 2009).
Ambiguous loss is one lens used to understand children’s psychological reactions to having a
parent in jail or prison, especially children’s reactions to visiting a parent who is incarcerated
(e.g., Arditti, 2003). During a visit with an incarcerated parent, children can experience a range
of conflicting feelings related to ambiguous loss, including happiness and excitement in the
moments that they spend with their parent, but also stress and sadness because they are
reminded of their loss regarding what they are missing on a day-to-day basis (Poehlmann-Tynan
& Arditti, 2018). The prison or jail context can also be intimidating or highly stressful for children,
depending on how security procedures and rules are implemented, how children are treated by
corrections staff, and how much time children spend watching or listening to other visits around
them (because of the lack of privacy in corrections visiting environments) (e.g., Poehlmann et al.,
2015). S.M. remembers during a visit being told she could no longer sit on her father’s lap,
whereas prior to that it was allowed. Such changes in rules can be confusing for a child to
understand.

S.M. ’s score on the CATS supports the fact that she has experienced stress, fear, and worry, and
even possibly trauma because of Nick’s incarceration and its sequelae. She reports some negative
feelings, especially evidenced in how her body feels (i.e., somatic symptoms), some difficulties
with memory about events, and mild challenges with sleep. However, the results of the screening
did not indicate a need for a full diagnostic assessment of PTSD at this time. Yet it is clear that
 S.M. has not been able to emotionally process many of her memories related to her father’s
incarceration, and she has not been able to talk about it to people other than close family
members.

Having an incarcerated parent is associated with less optimal outcomes for children compared to
their peers in multiple developmental domains, on average, especially when the incarceration
occurs when a child is young (see Poehlmann-Tynan & Turney, 2021). In S.M. ’s case, it appears
that she has significant strengths, as she is doing well in school and does not exhibit behavior
problems, evidenced in interviews and the average scores on the SDQ. S.M. engages in a high
level of prosocial behaviors with her siblings and at school, and she has a boyfriend; however,
she doesn’t have any close friends and she does not engage in extracurricular activities, sports,
hobbies or paid or volunteer work. She seems somewhat socially isolated, in part because of not
wanting to disclose her father’s incarceration to hardly anyone since 5th grade. In addition, she
also very recently lost her paternal grandmother, who was an important connection between
 S.M. and her father. On the positive side, S.M. ’s close relationship with her mother, ongoing
support from her maternal grandparents, and past support from her paternal grandparents –
especially when she was young--are protective factors for her (see Cuthrell et al., 2023). Despite
these strengths, S.M. may be at risk for developing symptoms of anxiety or depression as she
grows older, especially in the areas of worrying or somatic symptoms, and thus she should be
encouraged to talk to supportive adults and seek mental health resources as needed.

In sum, the results of this assessment indicate that Nick’s imprisonment had a significant negative
effect on the father-child relationship, and the experience of her father’s incarceration was highly
stressful and possibly traumatic for S.M. . Despite these stressors, she has many family supports



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and positive personal and interpersonal qualities, which have helped her navigate the challenges.
Even with these protective factors, having an incarcerated father has placed S.M. at risk for
being socially isolated and feeling stressed.

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                                                                                                                   J. Poehlmann       1
                                                      CURRICULUM VITAE
Personal Data                                                                                               Jan 2024
Name                       Julie Poehlmann
Offices                    Human Development & Family Studies, 1300 Linden Drive
                           University of Wisconsin, Madison, WI 53706
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E-mail                     japoehlmann@wisc.edu

Formal Education
1999                       Post-doctoral Fellowship, Waisman Center, University of Wisconsin-Madison, WI
1995                       Ph.D. in Clinical Psychology, Syracuse University, Syracuse, NY
1990                       M.S. in Clinical Psychology, Syracuse University, Syracuse, NY
1988                       Honors B.A., Marquette University, Milwaukee, WI, magna cum laude, Psychology and History
1987                       Marquette University Language Institute in Berlin, Germany

Post-Ph.D. Positions
2010-present               Professor, Human Development & Family Studies
                           School of Human Ecology, University of Wisconsin-Madison
2020-present               Affiliated Faculty, Center for Law, Society and Justice, UW-Madison
2015-present               Affiliated Faculty, Center for Healthy Minds, University of Wisconsin-Madison
2009-present               Affiliate, Institute for Research on Poverty, University of Wisconsin-Madison
2012-2017                  Director, Center for Child & Family Well-Being, University of Wisconsin-Madison
2011-2015                  Department Chair, Human Development & Family Studies, University of Wisconsin-Madison
2006-2010                  Associate Professor, Human Development & Family Studies
                           School of Human Ecology, University of Wisconsin-Madison
2004-2014                  Joint appointment in Educational Psychology
                           School of Education, University of Wisconsin-Madison
1999-2017                  Investigator, Waisman Center, University of Wisconsin-Madison
1999-2006                  Assistant Professor, Human Development & Family Studies
                           School of Human Ecology, University of Wisconsin-Madison
1994-1998                  Child Clinical Psychologist, Developmental Evaluation Center, Department of Family Medicine
                           State University of New York Health Science Center at Syracuse

Honors, Awards, & Leadership
Dorothy A. O’Brien Endowed Chair in Human Ecology, 2023-2025
Inaugural Olson Grant, National Council on Family Relations, 2020-2021
School of Human Ecology PROUD award for excellence in graduate student mentoring, UW-Madison, 2020
Vilas Life Cycle Professorship, Women in Science & Engineering Leadership, UW-Madison, 2017-2018, 2020-2023
National Extension Association of Family and Consumer Sciences, Wisconsin’s Program Excellence through
         Research Award, 2017
Wade and Bev Fetzer Excellence Award, University of Wisconsin-Madison, 2017
Dorothy A. O’Brien Endowed Professorship in Human Ecology, 2015-2023
Emmy nomination, 2014, Sesame Street’s Little Children, Big Challenges: Incarceration initiative
Mind and Life Contemplative Studies Fellowship, Mind and Life Institute and the Sir John Templeton
         Foundation, 2012-2013
Vilas Faculty Retention and Recruitment Award, UW-Madison, 2007-2008
University of Wisconsin’s School of Human Ecology Excellence in Outreach Award, 2005
NIH Competitive Pediatric Research Loan Repayment Program, 2004-2008
Licensed as Psychologist in Wisconsin, 1998-present
NICHD National Research Service Award, 1998-1999
Licensed as Psychologist in New York State, 1997-present
Syracuse University Master’s Prize, 1991
Syracuse University Graduate Scholarship, 1988-1993
Phi Beta Kappa, 1987-present

                                                          RESEARCH
                                                    Peer-Reviewed Publications

Journal Articles (* = graduate or undergraduate student is a co-author; +post-doc is co-author)
1. *+ Muentner, L., Pritzl, K., Shlafer, R., & Poehlmann, J. (2023). Using a brief multimedia educational intervention to strengthen
    young children’s feelings while visiting jailed parents. Journal of Child and Family Studies, 1-14. https://doi.org/10.1007/s10826-
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2. +Shah, P.E., Poehlmann, J., Weeks, H.M., Spinelli, M., Richards, B., Oh, W., Suh, J., & Kaciroti, N. (2023). Late preterm early
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6. *+Pritzl, K., Cuthrell, H., Milavetz, Z., Muentner, L., & Poehlmann-Tynan, J. (2022). Young children’s contact with their
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Manuscripts submitted or to be submitted (* = graduate or undergraduate student is a co-author; +post-doc is co-author)
107. *Hindt, L., Davis, L., Shaver, E., Poehlmann, J., & Shlafer, R. (2023). Developmental differences in children’s visits with
        parents in jail. Submitted to Children and Youth Services Review, February 2023.
108. *Jones, J., & Poehlmann, J. (2023). The formation of attachment relationships in young children in foster care: Implications for
        social work practice. Submitted to Clinical Social Work Journal, January 2022.
109. *Fanning, K., Muentner, L., Pritzl, K., Kapoor, A., Weymouth, L., & Poehlmann, J. (2023). Parental incarceration, attachment
        to caregivers, and young children’s physiological stress.
110. *Fanning, K., Kerr, M., Charles, P., & Poehlmann, J. (2023). Families’ experiences of housing and housing supports within the
        context of parental incarceration. Submitted to Analyses of Social Issues and Public Policy, June 2023.
111. *Fanning, K., & Poehlmann, J. (2023). Family homelessness and parental incarceration: Comparative case study of risks and
        protective factors. Submitted to Early Childhood Development and Care, April 2022.
112. *Kerr, M., Poehlmann, J., Charles, P., Pritzl, K., Jensen, J., Anandha Krishnan, C., & Ylizaliturri, V. (2023). Enhancing remote
        parent-child video visits during parental incarceration: Visit coaching using mindful relational savoring.

Extension, Outreach, and other publications (* = peer reviewed)
113. *Jensen, S., Pritzl, K., Charles, P., Kerr, M., & Poehlmann, J. (Winter, 2022/2023). Reducing barriers to communication
         between children and their incarcerated parents. Policy brief, Contexts: Sociology for the Public.
114. Poehlmann, J. (2023). Book review, Criminal Justice Review: Haney, L. (2022). Prisons of debt: The afterlives of incarcerated
         fathers. Oakland, CA: University of California Press, pp. 358. ISBN: 9780520297265. $29.95.
115. Muentner, L., & Poehlmann-Tynan, J. (October, 2021). How witnessing a parent’s arrest can get ‘under the skin’ of a child.
         Fast Focus Policy Brief No. 55-2021, Institute for Research on Poverty, University of Wisconsin-Madison.
         https://www.irp.wisc.edu/resource/how-witnessing-a-parents-arrest-can-get-under-the-skin-of-a-child/
116. Jones Harden, B., Berger, L.K., Poehlmann-Tynan, J., & Malecki, K. (April, 2020). Recruitment and retention of underserved,
         hard-to-reach populations. White paper prepared for the NIH HEALthy Brain and Child Development team.
117. Grendziak, A., Poehlmann-Tynan, J., Fanning, K., Pritzl, K., & Lavender, A. (2019). Program Evaluation Report: Hometown
         Heroes’ Camp Reunite, University of Wisconsin-Madison.
118. *Poehlmann-Tynan, J., Sugrue, E., Duron, J., Ciro, D., & Messex, A. (September, 2018). The impacts of parental incarceration
         on children and families. Invited research brief for Scholars Taking Action for Families Workgroup, The Center on
         Immigration and Child Welfare, New Mexico State University.
119. *Poehlmann-Tynan, J. (2016). Children’s contact with incarcerated parents. Focus on Poverty, Vol. 32:2, Winter 2016, pp. 13-
         17. Institute for Research on Poverty, University of Wisconsin-Madison.
         http://www.irp.wisc.edu/publications/focus/pdfs/foc322.pdf
120. Institute for Research on Poverty and Morgridge Center for Public Service. (2015). Poverty fact sheet: Life beyond bars:
         Children with an incarcerated parent. http://www.irp.wisc.edu/publications/factsheets/pdfs/Factsheet7-Incarceration.pdf
121. Sesame Workshop. (2013). Little children, big challenges: Incarceration.
         https://sesamestreetincommunities.org/topics/incarceration
122. Poehlmann, J. (2012). Jail-Prison Observation Checklist. Unpublished manuscript, University of Wisconsin-Madison.
123. Dallaire, D. H., Loper, A. B., & Poehlmann, J. (September, 2011). Issues and recommendations related to children’s’ visitation
         and contact with incarcerated parents. Committee on the Rights of the Child, 2011 Day of General Discussion, United
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                                                                                                                   J. Poehlmann    7
        Nations. http://www2.ohchr.org/english/bodies/crc/discussion2011_submissions.htm
124. *Supporting children in the shadow of meth: A caregiver’s guide to help children separated from their parents. (2007, April).
        http://www.wpt.org/outreach/attach/SupportingChildrenCaregiversGuide.pdf
        Published through UW-Extension and Wisconsin Public Television as part of their documentary series focusing on parental
        methamphetamine addiction.
125. Poehlmann, J. (2003, October). New study shows children of incarcerated mothers experience multiple challenges. Family
        Matters: A Family Impact Seminar Newsletter for Wisconsin Policymakers, 3(2).
126. *Poehlmann, J., Brintnall-Peterson, M., Shlafer, R., & Morgan, K. (2003). Through the eyes of a child: Grandparents raising
        grandchildren. University of Wisconsin-Extension (publication #B3786). Fact sheet series available in print or on the web
        http://fyi.uwex.edu/grandparenting/through-the-eyes-of-a-child/fact-sheets
                  #1. Understanding children’s development.
                  #2. The importance of close relationships.
                  #3. Relationship expectations: Now and in the future.
                  #4. Disruptions in close relationships: Effects on children’s behaviors, feelings, and thoughts.
                  #5. The importance of open communication.
                  #6. Understanding and managing children’s behaviors.
                  #7. Children’s contact with their parents.
                  #8. Breaking negative family cycles.
                  #9. Resources.
127. Poehlmann, J., & Riley, D. (2003). Talking with children about war: How children of different ages show anxiety and stress.
        University of Wisconsin-Extension. Fact sheet available on the web http://www.uwex.edu/ces/flp/war.html

                                                            Presentations

Invited Research Presentations since 2010
Poehlmann, J. (October, 2023). Mindfulness research and practice with underserved families and communities. Presented at the 2023
        Mindfulness, Self-Compassion and Family Well-Being Conference. Center for Child and Family Well-being, University of
        Washington, Seattle.
Poehlmann, J., Charles, P., & Barrett, K. (March, 2023). Child-friendly visits. Community Justice Council, Dane County, Wisconsin.
Poehlmann, J., & Charles, P. (April, 2023). Trauma, healing, and families. Invited panelists for Reimagining the Role of Colleges and
        Universities in Prison Education: Research, Policy, and Practice, a symposium hosted by the Education Preparedness
        Program, Center for Urban Research, Teaching and Outreach, Marquette University, Milwaukee, Wisconsin.
Poehlmann, J. (February, 2023). Young children with incarcerated parents: From stigma to support. Keynote address for the Utah
        Infant Mental Health Conference, Salt Lake City, Utah.
Poehlmann, J. (March, 2022). Working with incarcerated parents and their children. Keynote address for the Justice Involved
        Families Provider Conference, Center for Child and Family Well-being, Seattle, Washington.
Poehlmann-Tynan, J., Charles, P., & Kerr, M. (November, 2021). Enhanced visits in jail. Invited address for inaugural David Olson
        award, National Conference on Family Relations.
Poehlmann-Tynan, J. (October, 2021). Impact of parental incarceration on children and benefit of parent-child interactions during
        incarceration. Children with incarcerated parents conference. Drake University Law School, Des Moines, Iowa.
Poehlmann-Tynan, J. (June, 2021). Incarcerated Dads and their young children. Early Years “The Many Faces of Parenting Infants”
        Conference, Anna Freud Centre, London, England.
Poehlmann-Tynan, J. (October, 2020). Children with incarcerated parents. The 28th Family Symposium focusing on parent-child
        separation at The Pennsylvania State University, State College, Pennsylvania.
Poehlmann-Tynan, J., & Skora Horgan, E. (September, 2020). Benefits of in-home video chat. Lessons from the Lockdown: Prisoner
        and Family Connections for the Future. Panelists for the Centre for Criminology, University of South Wales.
Poehlmann-Tynan, J. (August, 2020). Children with incarcerated parents. Keynote at the Infancy Forward! Mental Health
        Conference, Indianapolis, Indiana.
Poehlmann-Tynan, J. (March, 2019). Children with incarcerated parents. Keynote at the Wisconsin Statewide Family and Consumer
        Science conference, Wisconsin Dells, Wisconsin.
Poehlmann-Tynan, J. (April, 2018). Incarcerated mothers and their children. Incarcerating Girls and Women: Research, public
        memory, and narratives. Justice and Multiculturalism in the 21st Century initiative. School of Criminal Justice, University at
        Albany, New York.
Poehlmann-Tynan, J. (April, 2018). Conducting research with children. Departments of criminology and sociology. State University
        of New York at Albany, Albany, New York.
Poehlmann-Tynan, J., Shear, L., Pruhs, D., & Rosa, F. (February, 2018). The incarcerated parent in family court. Annual Family Law
        Seminar for Wisconsin Judges, Office of Judicial Education, Wisconsin.
Poehlmann-Tynan, J. (January, 2018). Mindfulness and compassion training for parents and children. Department of Human
        Development and Family Studies, Purdue University, West Lafayette, Indiana.
Poehlmann-Tynan, J. (March, 2017). Risk and resilience in children born preterm. Center for Human Growth and Development,
        Department of Pediatrics, University of Michigan, Ann Arbor, Michigan.
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Poehlmann-Tynan, J., & Arditti, J. (September, 2016). Developmental and family perspectives on children with incarcerated parents.
       Collateral Damage. Cornell University, Ithaca, New York.
Poehlmann-Tynan, J. (June, 2016). Children with incarcerated parents. Plenary Session I: Prevention Needs for Vulnerable Youth
       Populations. Annual conference of the Society for Prevention Research, San Francisco, California.
Poehlmann-Tynan, J. (March, 2016). Children’s visits with their incarcerated parents. Department of Health and Human Services,
       Washington, D.C.
Poehlmann-Tynan, J. (August, 2015). Author meets critic: Children of the Prison Boom by Sarah Wakefield and Christopher
       Wildeman. American Sociological Association, Chicago, Illinois.
Poehlmann-Tynan, J. (November, 2014). Sesame Street’s Little Children, Big Challenges: Incarceration Initiative. Through the Eyes
       of a Child, Guardian ad Litem conference, Wisconsin Dells, Wisconsin.
Poehlmann-Tynan, J. (October, 2014). Risk and resilience in children of incarcerated parents. Children of Incarcerated Parents
       Community Engagement Sessions, Fatima Family Center (October 21) and Greater Cleveland Food Bank (October 22),
       Cleveland, Ohio. Sponsored by Case Western Reserve University – Schubert Center for Child Studies, Cuyahoga County,
       Healthy Fathering Collaborative, Oriana House, Inc., St. Luke’s Foundation, University Hospitals – Rainbow, Babies &
       Children, and U.S. Attorney’s Office – Northern District.
Poehlmann-Tynan, J. (September, 2014). Risk and resilience in children born preterm. University of Texas at Austin, Human
       Development and Family Studies Department, Austin, Texas.
Poehlmann, J. (June, 2011). Family matters: Research on incarceration, reentry, and children of incarcerated parents. Keynote
       speaker, University of Wisconsin-Extension conference, From Jail to Home. Wausau, Wisconsin.
Poehlmann, J., (January, 2011). Risk and resilience in children of incarcerated parents. Psychology Department, University of
       Northern Illinois.

Selected Peer-reviewed International Conference Presentations since 2010 (* = student is co-author)
Poehlmann, J., Shah, P., Gerstein, E., Spinelli, M., & Njoroge, W. (July, 2023). Parental and infant risk: Contributions to child
         social emotional adaptation in four longitudinal studies. Symposium accepted for the Biennial Congress of the World
         Association of Infant Mental Health, Dublin, Ireland.
Poehlmann-Tynan, J., Reid, J., Horowitz, J., & Raikes, B. (September, 2021). Video visits between children and their incarcerated
         parents during Covid across the world. Presented at the biennial conference of the International Coalition on Children with
         Incarcerated Parents.
Horowitz, J., & Poehlmann-Tynan, J. (September, 2021). Incarcerated mothers in Brazil and the United States. Presented at the
         biennial conference of the International Coalition on Children with Incarcerated Parents.
*Poehlmann-Tynan, J., Chair and Presenter. (August, 2019). Children with incarcerated parents across the Americas. Co-presenters:
         Horowitz, J., Caldoni, L., & Reid, J. Presented at the biennial conference of the International Coalition on Children with
         Incarcerated Parents, Huddersfield, United Kingdom.
*Poehlmann-Tynan, J., Muentner, L., Milavetz, Z., Peterson, A., Davis. L., & Shlafer, R. (May, 2018). Young children’s feelings
         about their incarcerated parents. Presented at the biennial Congress of the World Association for Infant Mental Health,
         Rome, Italy.
*Poehlmann-Tynan, J., Fanning, K., Yudawanti, A., & Zhu, S. (May, 2018). A framework for understanding resilience in families of
         children born preterm. Presented at the biennial Congress of the World Association for Infant Mental Health, Rome, Italy.
Clark, R., & Poehlmann-Tynan, J. (May, 2018). Development of the Parent-Child Early Relational Assessment-Short Form (ERA-
         SF) to focus relational interventions and research in clinical, community, and home contexts. Workshop presented at the
         biennial Congress of the World Association for Infant Mental Health, Rome, Italy.
Poehlmann-Tynan, J., Shah, P.E., Gerstein, E., & Schwichtenberg, A.J. (June, 2017). Early interactions, attachment, and resilience
         at age 6 in children born preterm. Presented as part of a symposium entitled The Social Relational World and Development
         of Children Born Preterm: Infancy through Adulthood (Chairs: Joana Baptista and Isabel Soares) at the annual International
         Attachment Conference, London, England.
Schwichtenberg, A.J., & Poehlmann-Tynan, J. (July, 2014). Maternal depressive symptoms, bedtime routines, and sleep in infants
         born preterm. Presented at the International Conference on Infant Studies, Berlin, Germany.
*Gerstein, E., Poehlmann-Tynan, J., & Weymouth, L. (June, 2014). Parent-infant interaction and resilience in children born
         preterm. Presented at the World Congress of the World Association for Infant Mental Health, Edinburgh, Scotland.
*Weymouth, L., Poehlmann-Tynan, J., Runion, H., & Burnson, C. F. (June, 2014). Young children of incarcerated parents: Chaos in
         the home. Presented at the World Congress of the World Association for Infant Mental Health, Edinburgh, Scotland.
Shah, P. E., & Poehlmann, J. (July, 2013). The paradox of prematurity: Behavioral vulnerability of late preterm infants and
         cognitive susceptibility of very preterm infants at 36 months postterm. Presented the annual International Attachment
         Conference, Italy.
Shah, P. E., & Poehlmann, J. (April, 2012). Maternal resolution of grief in infants with varying medical conditions: Infant and dyadic
         outcomes, and implications for intervention. Presented at the 13th World Congress of the World Association for Infant Mental
         Health, Cape Town, South Africa.
McManus, B. M., & Poehlmann, J. (June, 2011). Maternal depression and perceived social support as predictors of cognitive
         function trajectories during the first 3 years of life for preterm infants in Wisconsin. Presented at the Society for Pediatric and
         Perinatal Epidemiologic Research, Montreal, Canada.
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McManus, B. M., & Poehlmann, J. (June, 2011). Associations among maternal symptoms of clinical depression, infant-parent
         interaction, perceived maternal social support, and children’s cognitive function in a sample of children born preterm in
         Wisconsin. Presented at the Society for Pediatric and Perinatal Epidemiologic Research, Montreal, Canada.
Poehlmann, J., Loper, A., Dallaire, D., McHale, J., Myers, B., & Eddy, J.M. (April, 2011). Relational processes in children with
         incarcerated parents: New studies of separation, bullying, and parenting. Presented at the biennial conference of the Society
         for Research in Child Development, Montreal, Canada.
*Burnson, C.F., & Poehlmann, J. (April, 2011). Attachment and effortful control in children born preterm: Differential
         susceptibility. Presented at the biennial conference of the Society for Research in Child Development, Montreal, Canada.
Shah, P., & Poehlmann, J. (May, 2010). Maternal unresolved grief regarding a preterm birth: Implications for attachment security in
         preterm infants. Presented at the Pediatric Academic Societies' Annual Meeting, Vancouver, British Columbia, Canada.

Selected Peer-reviewed National Conference Presentations since 2010 (* = student is co-author)
Poehlmann, J. (November, 2023). Discussant for symposium Family and Community Based Adversities: Analyses from the ABCD
          Study. Presented at the annual conference of the National Council on Family Relations, Orlando, Florida.
Johnson, E. I., Planalp, E. M., Williams, D. T., & Poehlmann, J. (November, 2023). Parental incarceration and physiological
          dysregulation among US children: Results among racialized subgroups. Presented at the annual conference of the National
          Council on Family Relations, Orlando, Florida.
*Anandha Krishnan, C., Pritzl, K., Poehlmann, J., & Loucks, N. (November, 2023). The experiences of children with incarcerated
          parents in six countries. Presented at the annual conference of the National Council on Family Relations, Orlando, Florida.
*Kerr, M., Poehlmann, J., Charles, P., Pritzl, K., Jensen, J., Anandha Krishnan, C. A., & Ylizaliturri, V. (November, 2023).
          Enhancing remote parent-child video visits during parental incarceration: Visit coaching using mindful relational savoring.
          Presented at the annual conference of the National Council on Family Relations, Orlando, Florida.
*Pritzl, K., Jensen, S., Charles, P., Kerr, M., & Poehlmann, J. (June, 2023). Cortisol levels in children with incarcerated parents.
          Presented at the annual meeting of the Law and Society Association, San Juan, Puerto Rico.
*Poehlmann, J., Charles, P., Hoekstra, A., Hedges, A., & Barrett, K. (April, 2023). Implementing child-friendly visits in a county jail.
          Plenary session presented at the annual Children of Incarcerated Parents conference, Arizona State University.
*Pritzl, K., Anandha Krishnan, C. A., Poehlmann, J., & Loucks, N. (April, 2023). Global perspectives on parental incarceration.
          Presented at the annual Children of Incarcerated Parents conference, Arizona State University.
*Jensen, S., Charles, P., Kerr, M., & Poehlmann, J. (March, 2023). Associations between the number of parental incarcerations and
          girls’ and boys’ disruptive conduct. Annual meeting of the Academy of Criminal Justice Sciences, National Harbor,
          Maryland.
*Pritzl, K. & Poehlmann, J. (August, 2022). Physiological stress and what children were told about their parent’s
          incarceration. Presented at the annual convention of the American Psychological Association, Minneapolis, Minnesota.
*Fanning, K., Pritzl, K., Muentner, L., & Poehlmann, J. (August, 2022). Young children with incarcerated parents: Attachment
          relationships and physiological stress. Presented at the annual convention of the American Psychological Association,
          Minneapolis, Minnesota.
Poehlmann, J. (April, 2022). Mindfulness with underserved communities and families. Mindfulness, Self-Compassion and Parenting
          Online Research Meeting, Center for Child and Family Well-being, University of Washington.
Shah, P.E., Poehlmann, J., McCaffery, H., Kaciroti, N. (April, 2022). Gestational age, academic achievement and emotion regulation
          outcomes at kindergarten in nationally representative sample, and the moderating role of sensitive parenting. Presented at
          the conference of the Pediatric Academic Societies, Denver, Colorado.
Chan-Zlatopolsky, K., Shah, P., Weeks, H., Kaciroti, N., & Poehlmann, J. (April 2022). ACEs and kindergarten academic and
          emotion regulation outcomes in a U.S. representative sample. Presented at the conference of the Pediatric Academic
          Societies, Denver, Colorado.
*Pritzl, K., Poehlmann, J., Shlafer, R., & Muentner, L. (April, 2022). Young children’s feelings about their families when a parent is
          incarcerated. Presented at the annual Children of Incarcerated Parents National Conference, Arizona State University,
          Phoenix, Arizona.
Poehlmann-Tynan, J. (Discussant). (November, 2021). Roundtable: Global Prisoners' Family Network: A Discussion on Research,
          Methods, and Critical Perspectives. Presented at the American Society of Criminology Conference, Chicago, Illinois.
Poehlmann-Tynan, J., Kerr, M., & Charles, P. (November, 2021). Special Session: NCFR Olson Grant Address - Enhanced Visits
          For Children and Families Affected by Parental Incarceration. Presented virtually at the annual conference of the National
          Council on Family Relations.
*Fanning, K., Engbretson, A., &. Poehlmann-Tynan, J. (April, 2021). Relations among parental stress, parental disrupted
          communications, and child hair cortisol in a low risk sample. Presented at the biennial conference of the Society for Resarch
          in Child Devleopment.
*Engbretson, A., Fanning, K., Pritzl, K., Meurer, A., & Poehlmann-Tynan, J. (April, 2021). Child-friendly visits with incarcerated
          mothers. Presented at the biennial conference of the Society for Research in Child Development.
*Fanning, K., Gerstein, E., & Poehlmann-Tynan, J. (April, 2021). Vulnerable babies, vulnerable moms: Bidirectional associations of
          mother-preterm infant dyads through age 6. Presented at the biennial conference of the Society for Research in Child
          Development.
Poehlmann-Tynan, J. (Chair). (April, 2021). Caregiver Incarceration and Childhood Adaptation. Symposium presented at the
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          biennial conference of the Society for Research in Child Development.
Poehlmann-Tynan, J. (Chair). (April, 2021). A transdisciplinary approach to designing, implementing, and evaluating an
          intervention for children with incarcerated parents and their families: From awareness to action. Panel presented at the
          annual Children of Incarcerated Parents National Conference, Arizona State University, Phoenix, Arizona.
Poehlmann-Tynan, J., Muentner, L., Pritzl, K., Davis, L., & Shlafer, R. (January, 2021). Does witnessing a parent's arrest relate to
          emotional or developmental concerns in young children with jailed parents? Presented at the annual conference of the Society
          for Social Work and Research.
Poehlmann-Tynan, J. (Chair), & Pate, D.J., Jr. (Discussant) (August, 2020). When fathers are incarcerated: Post-release contact,
          commitment to children, and legal socialization. Symposium accepted to the annual convention of the American
          Psychological Association, Washington, D.C.
*Thomas, A., Wirth, J., Poehlmann-Tynan, J., & Pate, D.J., Jr. (August, 2020). African American fathers’ commitment to children
          and 1-year recidivism after release from jail. Paper accepted to the annual convention of the American Psychological
          Association, Washington, D.C.
*Zhu, Y., et al., & Poehlmann-Tynan, J. (August, 2019). Bilingual families, vocabulary learning, and parent interactions in preterm
          infants. Poster presented at the annual convention of the American Psychological Association, Chicago, Illinois.
*Yudawanti, A., Wirth, J., & Poehlmann-Tynan, J. (August, 2019). Safeguarding children: Measuring the impact of witnessing
          parental arrest. Poster presented at the annual convention of the American Psychological Association, Chicago, Illinois.
          Winner of the best student poster award.
*Pritzl, K., et al., & Poehlmann-Tynan, J. (August, 2019). Context matters: Behavioral implications of visits between children and
          their jailed parents. Poster presented at the annual convention of the American Psychological Association, Chicago, Illinois.
*Fanning, K., et al., & Poehlmann-Tynan, J. (August, 2019). Disrupted caregiver-child communication and attachment in families
          with incarcerated parents. Poster presented at the annual convention of the American Psychological Association, Chicago,
          Illinois.
*Grendziak, A., et al., & Poehlmann-Tynan, J. (August, 2019). Evaluation of a summer camp for children with imprisoned mothers.
          Poster presented at the annual convention of the American Psychological Association, Chicago, Illinois.
Poehlmann-Tynan, J. (April, 2019). Interventions for children’s visits with their incarcerated parents: Interdisciplinary research
          perspectives. Facilitated Panel Presentation, Children of Incarcerated Parents National Conference, Arizona State University,
          Phoenix, Arizona.
*Poehlmann-Tynan, J., Grendziak, A., Fanning, K., Pritzl, K., Lavender, A., Muentner, L., Warzewick, S., Zhou, L., & Brown, J.
          (April, 2019). Evaluation of child-friendly visits at a summer camp for children with imprisoned mothers. Children of
          Incarcerated Parents National Conference, Arizona State University, Phoenix, Arizona.
*Charles, P., Poehlmann-Tynan, J., Massoglia, M., Kerr, M., Sager, L., Holden, K., Cuthrell, H., Fanning, K., Robey, J., & Wirth, J.
          (April, 2019). Interdisciplinary intervention to enhance visits for children with jailed parents: Evaluation challenges and
          progress. Children of Incarcerated Parents National Conference, Arizona State University, Phoenix, Arizona.
*Poehlmann-Tynan, J., Grendziak, A., Fanning, K.A., Cuthrell, H., Pritzl, K., Lavender, A., Wirth, J., Muentner, L., Milavetz, Z., &
          Shlafer, R. (March, 2019). Observational measurement of children’s reactions to visits with parents incarcerated in jail or
          prison. Part of symposium chaired by J. Poehlmann-Tynan, Innovative Developmental, Family, Educational, and
          Sociological Approaches to Studying Children with Incarcerated Parents. Presented at the biennial conference of the Society
          for Research in Child Development, Baltimore, Maryland.
*Muentner, L., Premo, E., & Poehlmann-Tynan, J. (March, 2019). Parental incarceration and child development: Investigating the
          role of frequency and duration of incarceration. Presented at the biennial conference of the Society for Research in Child
          Development, Baltimore, Maryland.
*Grendziak, A., Fanning, K., Vigna, A. B., Gerstein, E., Weymouth, L. A., Burnson, C., Aubel, G., Frerks, L., Haese, D., Johnson, N.,
          Milavetz, Z., Muentner, L., O’Neill, S., Peterson, A., Pritzl, K., & Poehlmann-Tynan, J. (November, 2018). Cognitively
          Based Compassion Training for parents of young children. Presented at the annual conference of the National Council on
          Family Relations, Orlando, Florida.
Shah, P. E., Kaciroti, N., Richards, B., Oh, W., & Poehlmann-Tynan, J. (May, 2017). Developmental patterns of late preterm infants
          from infancy through kindergarten. Presented at the Pediatric Academic Societies Meeting, San Francisco, California.
Poehlmann-Tynan, J. (April, 2017). Compassionate parenting: Effects of Cognitively-Based Compassion Training for parents of
          young children. Presented at the conference Mindful Families, Schools, and Communities: Contemplative Practices to
          Promote Child and Family Well-Being, 3rd biennial conference of the Centers for Child and Family Well-being, University of
          Washington and University of Wisconsin, held in Seattle, Washington.
Burnson, C., & Poehlmann-Tynan, J. (April, 2017). Resilience in young children of jailed parents. Presented at the biennial
          conference of the Society for Research in Child Development, Austin, Texas.
*Massie, M., Mulla, S., Davis, L., Shlafer, R., & Poehlmann‐Tynan, J. (November, 2016). “Where’s Dad?” How Sesame Street can
          support kids with jailed parents. Poster presented at the annual conference of the National Council on Family Relations,
          Minneapolis, Minnesota.
*Hindt, L. A., Davis, L., Shlafer, R. J., Poehlmann‐Tynan, J., Weymouth, L., Burnson, C., Runion, H., & Lauter, L. (November,
          2016). Emotion recognition and behavior adjustment in children with jailed parents. Poster presented at the annual
          conference of the National Council on Family Relations, Minneapolis, Minnesota.
*Runion, H., Frerks, L., Milavetz, Z., Weymouth, L., Burnson, C., Muentner, L., Johnson, N., Grendziak, A., Galvan, A., &
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          Poehlmann-Tynan, J. (November, 2016). Family drawings and attachment in young children with jailed parents. Poster
          presented at the annual conference of the National Council on Family Relations, Minneapolis, Minnesota.
*Poehlmann-Tynan, J., Runion, H., Weymouth, L. A., & Burnson, C. (November, 2015). Young children with jailed parents: Family
          processes and attachment. Poster presented at the annual conference of the National Council on Famly Relations, Vancouver,
          Canada.
*Poehlmann-Tynan, J., Runion, H., Weymouth, L.A., & Burnson, C. (March, 2015). Young children of jailed parents: Emotions and
          behaviors during jail visits and at home. Symposium presented at the biennial meeting of the Society for Research in Child
          Development, Philadelphia, Pennsylvania.
Shah, P., Oh, W., & Poehlmann-Tynan, J. (March, 2015). Cognitive trajectories of late preterm infants: The role of neonatal risks
          and parenting. Symposium presented at the biennial meeting of the Society for Research in Child Development,
          Philadelphia, Pennsylvania.
*Abel, E., Schwichtenberg, A.J., & Poehlmann-Tynan, J. (March, 2015). Sleep in infants born preterm: The roles of daytime and
          nighttime parenting behaviors. Symposium presented at the biennial meeting of the Society for Research in Child
          Development, Philadelphia, Pennsylvania.
*Gerstein, E., Woodman, A., Burnson, C., & Poehlmann-Tynan, J. (March, 2015). Behavior problem trajectories in children born
          preterm. Symposium presented at the biennial meeting of the Society for Research in Child Development, Philadelphia,
          Pennsylvania.
Gerstein, E., Poehlmann-Tynan, J., & Clark, R. (March, 2015). Mother-child interactions in the NICU: Relevance and implications
          for later parenting. Poster presented at the biennial meeting of the Society for Research in Child Development, Philadelphia,
          Pennsylvania.
*Weymouth, L, Poehlmann-Tynan, J., Runion, H., & Burnson, C. (March, 2015). Young children of incarcerated parents: Chaos in
          the home. Poster presented at the biennial meeting of the Society for Research in Child Development, Philadelphia,
          Pennsylvania.
Dallaire, D., Wildeman, C., Siegel, J., Poehlmann-Tynan, J., & Lee, H. (March, 2015). Interdisciplinary perspectives on the impact
          of parental Incarceration on children and families. Round table presentation at the biennial meeting of the Society for
          Research in Child Development, Philadelphia, Pennsylvania.
Schwichtenberg, A.J. Christ, S., Abel, E., & Poehlmann-Tynan, J. (April, 2015). The roles of toddler circadian patterns on
          attentional and behavioral concerns in children born preterm. Presented at the 48th Annual Gatlinburg Conference on
          Research and Theory in Intellectual and Developmental Disabilities, New Orleans, Louisiana.
*Poehlmann, J. et al. (July, 2013). Children’s contact with incarcerated parents: Implications for policy and intervention Presented
          at the annual conference of the American Psychological Association, Honolulu, Hawaii.
*Runion, H., Poehlmann, J., Burnson, C., & Weymouth, L. (April, 2013). Imprisoned mothers who gave birth during their
          incarceration. Presented at the biennial conference of the Society for Research in Child Development, Seattle, Washington.
*Burnson, C., Poehlmann, J., Runion, H., Weymouth, L., & Maleck, S. (April, 2013). Representations of family relationships and
          emerging self-regulation in young children born preterm. Presented at the biennial conference of the Society for Research in
          Child Development, Seattle, Washington.
*Schwichtenberg, A.J.M., Poehlmann, J., Smith, A., & Wegner, S. (April, 2013). Parenting behaviors at bedtime and sleep in infants
          born preterm. Presented at the biennial conference of the Society for Research in Child Development, Seattle, Washington.
*Dilworth-Bart, J. E., Poehlmann, J., Yim, S., Bolt, D., & Taub, A. (April, 2013). Effortful control and executive function as indices
          of emerging self-regulation in young children born at high neonatal risk. Presented at the biennial conference of the Society
          for Research in Child Development, Seattle, Washington.
*Shah, P. E., Burnson, C. F., & Poehlmann, J. (June, 2012). Nature x nurture: The role of differential susceptibility in infancy on the
          cognitive, behavioral and psychosocial outcomes of young children. Presented at the International Conference on Infant
          Studies, Minneapolis, Minnesota.
*Burnson, C. F., & Poehlmann, J. (June, 2012). Attachment and effortful control in children born preterm. Presented at the
          International Conference on Infant Studies, Minneapolis, Minnesota.
Schwichtenberg, A.J.M., & Poehlmann, J. (June, 2012). Infant sleep and parenting as predictors of attachment security and behavior
          problems in toddlers born preterm. Presented at the International Conference on Infant Studies, Minneapolis, Minnesota.
Shah, P. E., & Poehlmann, J. (April, 2012). The bigger the better? Less preterm, more behavior problems. Presented at the Pediatric
          Academic Societies Meeting, Boston, Massachusetts.
Shah, P. E., & Poehlmann, J. (September, 2011). Cognitive and behavioral outcomes of late preterm infants: The bigger the better?
          Presented at the annual meeting of The Society for Developmental and Behavioral Pediatrics, San Antonio, Texas.
*Shah, P. E., Hane, A., Burnson, C., Maleck, S., Hamburger, E, & Poehlmann, J. (April, 2011). Cognitive and behavior outcomes in
          preterms with difficult temperament: The differential effects of parenting. Presented at the Pediatric Academic Societies and
          Asian Society for Pediatric Research conference, Denver, Colorado.
*Friberg, B., & Poehlmann, J. (August, 2011). Development of aggressive behaviors in the context of Early Head Start: A test of
          competing theories. Poster presented at the annual convention of the American Psychological Association, Washington, D.C.
*Shlafer, R. J., & Poehlmann, J. (November, 2010). Mentoring children of incarcerated parents: Theory and practice implications.
          Paper presented in symposium organized by Dr. Joyce Arditti (Children and their incarcerated parents: Promising theoretical
          and applied approaches) to the annual conference of the National Council on Family Relations, Minneapolis, Minnesota.
*Poehlmann, J., Burnson, C., Hane, A., & Hamburger, E. (November, 2010). Differential susceptibility to parenting: Behavior
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                                                                                                                 J. Poehlmann    12
         problems at 36 months in children born preterm. Poster presented at the annual conference of the National Council on Family
         Relations, Minneapolis, Minnesota.
                                                    Research Grants–Funded

Extramural Research Grants—PI
Active
Poehlmann-Tynan, J., & Dean, Douglas III, mPIs. HBCD (Healthy Brain and Child Development) Study, site 24.
       1U01DA055370
       National Institute on Drug Abuse
       10/15/2021-06/30/2026
       $5,547,270
       This grant provides funding for the first 5 years of a 10-year grant to UW-Madison, as part of a 25-institution consortium. The
       HBCD Study is the largest long-term study of early brain and child development in the United States. The study addresses a
       critical gap in our knowledge of how environmental exposures, especially opioid and other drug use, affect infant and child
       brain development. HBCD also aims to contribute to our understanding of normative cognitive, behavioral, social, and
       emotional function from the prenatal period through childhood. It is a part of the NIH’s larger Helping to End Addiction Long-
       term (HEAL) Initiative, a multi-agency effort to curb the national opioid crisis.

Completed
Poehlmann-Tynan, J., PI. Charles, P., Kerr, M., & Massoglia, M., Co-Investigators. Building Reflective Functioning, Cohesion, and
       Flexibility in Families with Incarcerated Parents Through Supported Visits.
       Olson Grant from the National Council on Family Relations
       10/01/2020-08/01/2021
       $10,000
       This grant supplements our UW2020 grant for developing and testing a multidisciplinary, multi-level intervention strategy to
       improve visits between children and their jailed parents.

Poehlmann, J., PI. Young Children of Jailed Parents. (Co-I: M Huser, UW-Extension)
       Eunice Kennedy Shriver National Institute of Child Health and Human Development
       R21HD068581
       1/05/2012-12/31/2015
       $373,000
       This study focused on young children (aged 2-6) of jailed parents, investigating risks and protective factors, including the
       quality of visitation in 3 jail settings (Plexiglas, closed circuit TV, and face-to-face), as predictors of children’s social emotional
       outcomes. A developmental screening procedure for children visiting the jail was also implemented.

Poehlmann, J., PI. Fieldwork on Contemplative Practices with High Risk Preschoolers: Children’s Empathic, Compassionate, and
       Self-Regulatory Behaviors.
       Contemplative Studies Fellowship Program, Mind and Life Institute and the Sir John Templeton Foundation
       07/01/2012-08/31/2016
       $129,243
       This exploratory study had 3 aims: (1) to conduct a pilot RCT with high risk preschoolers to determine effects of a
       mindfulness intervention on children’s empathy, compassion, and self-regulation, (2) to determine how a mindfulness
       curriculum can be implemented (or adapted) in a developmentally appropriate manner for high risk preschoolers, and (3) to
       assess how this field-based application enhances or raises new questions regarding laboratory-based findings regarding use of
       contemplative practices, especially pertaining to the development of empathic responding in children.

Poehlmann, J., PI. The Development of Self-Regulation in High Risk Infants.
       Eunice Kennedy Shriver National Institute of Child Health and Human Development
       R01 HD044163-05
       2/5/2004-1/31/2011
       $1,440,000
       Investigated early social and physiological processes involved in the development of self-regulation and its relation to infant-
       mother attachment and cognitive development in high risk infants. The research had a longitudinal design that followed
       infants from hospital discharge until they turned 3 years post-term and involved data collected from children and families
       using multiple methods in multiple contexts.

Poehlmann, J., PI. Risk and Resilience in Children of Incarcerated Mothers.
       National Institute of Mental Health
       R03 MH61559
       1/01/2001-12/31/2003
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        $145,500
        Investigated problematic outcomes and resilience in young children who experienced multiple risks to their attachment
        relationships and cognitive and behavioral development in an understudied population: children of incarcerated mothers.

Poehlmann, J., PI; Administrative supplement to promote diversity in health-related research; supplement to Poehlmann R01
       HD044163-02 submitted on behalf of Dr. Janean Dilworth-Bart.
       Eunice Kennedy Shriver National Institute of Child Health and Human Development
       1/1/2006-1/31/2009
       $262,357
       This supplement provided 2 years of support for the research of a faculty member from an underrepresented racial ethnic
       group focusing on the relation between early parenting and precursors to children’s executive functioning in toddlers born
       preterm.

Poehlmann-Tynan, J., PI. Mindful/Compassionate Parenting: A Randomized Controlled Trial for Parents of Preschoolers.
       Grants and gifts from the Mai Family Foundation, Mary Sue Shannon, and the Mayer Family Foundation
       12/1/2012-12/30/2020
       $185,000
       These gifts provide funds to develop and pilot test the effects of Cognitively-Based Compassion Training adapted for parents
       of infants, toddlers, and preschoolers attending campus and community childcare centers, implemented as a randomized
       controlled trial.

Extramural Research Grants—Co-I or Consultant
Active
Promoting Resilience in Children: Protocol Development for a Birth Cohort to Assess Factors Impacting Neurodevelopment; NIH
        HEAL Initiative (HEALthy Brain and Child Development Study (PIs: Zgierska for Project 1; Ossorio for Project 2;
        Alexander for Project 3; Poehlmann-Tynan is a Co-I on all 3 projects)
        1R34DA050270
        10/2019-03/2022
        $535,625 each
        Three linked proposals were submitted to develop research protocols for a future large-scale birth cohort study of
        child and brain development with oversampling of children exposed in utero to opioids.

Pending
Johnson, E.I., & Planalp, E., PIs; Poehlmann-Tynan, J., Co-I. Neurobehavioral indicators of risk and resilience among adolescents with
        justice-involved parents in the Adolescent Brain Cognitive Development (ABCD) study.
        R21HD107485-01
        09/01/2022-08/31/2024
        $150,000
        This grant application proposes to access longitudinal data in the ABCD study to examine variation in neural circuitry in
        relation to patterns of risk and resilience in adolescents of parents involved in the criminal justice system.

Completed
Farar-Edwards, D., PI; Poehlmann-Tynan, J., co-I. All of Us, Wisconsin: One in a Million – Precision Medicine Initiative Wisconsin.
Office of the Director, National Institutes of Health.
         1OT2OD025286-02
         $60,000,000
         6/2018-5/2023
         This grant focuses on Wisconsin’s effort to collect genomic and environmental data from a total of 1 million individuals
         nationwide in an effort to increase the precision of medical diagnosis and intervention. Poehlmann-Tynan serves on the
         national Special Populations Committee and several task forces focusing on inclusion of children, individuals with
         disabilities, and incarcerated individuals.

Eddy, J. M., PI (New York University); Poehlmann-Tynan, J., Consultant. A Pre- and Post-Release Multimodal Intervention for
Incarcerated Fathers Targeting Parenting, Economic Stability, and Healthy Relationships
         Administration for Children and Families, U.S. Department of Health and Human Services; Subcontract from Washington
         State Department of Corrections, Tumwater, WA
         90FO0008-01-00
         10/2015-9/2020
         This grant focuses on implementing a parenting intervention for fathers incarcerated in the state of Washington.

Peterson, B., & Fontaine, J., PIs (Urban Institute, Washington DC); Poehlmann-Tynan, J., Technical Reviewer and Supervisor for
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         UW-Madison IPA. Safeguarding Children with Incarcerated Parents: Developing and Implementing Family Strengthening
         Policies at Correctional Institutions at the Local and State Level
         National Institute of Corrections/Bureau of Justice Assistance
         CFDA # 16.601
         Total grant $1,125,000; UW-Madison IPA $337,170
         1/2017-12/2020
         This grant focuses on developing training materials and implementing evidence-informed, model policies that can be adopted
         by local jails and state prisons to reduce the traumatic impact of parental incarceration on children and improve reentry
         outcomes for parents.

Wu Shortt, J., P.I. (Oregon Social Learning Center); Poehlmann, J., Consultant. Emotion-Focused Intervention for Mothers and
Children Under Stress.
        National Institute of Mental Health
        R34MH79911
        5/1/2008-4/30/2012
        $634,939
        This project involved developing and piloting a multimodal emotion-focused intervention program to foster both the
        emotional connection between incarcerated mothers and children and their individual emotional and behavioral adjustment.

Shah, P. E., P.I.; Poehlmann, J., Consultant. Gene Environment Interactions and their Influence on the Development of Self-
         Regulation in Preterm Infants
         National Institute of Child Health and Human Development
         K12-RR17665
         12/01/2007-10/31/2009
         $280,000
         This mentored grant built on data obtained from R01HD044163 by adding a genetic analysis and assessment of ADHD at 60
         months to define the role of genetics, quality of the caregiving environment, and the possible role of gene-environment
         interactions (GXE) on the development of self-regulation and ADHD in preterm infants.

Madison-Area Urban Ministry; Poehlmann, J., Consultant. Mentoring Children of Prisoners
       Department of Health and Human Services, Family and Youth Services Bureau
       90CV0116
       7/5/2004-7/4/2007
       This program matched children of incarcerated parents with mentors. The evaluation research component was longitudinal
       and focused on assessing changes in children’s relationships with caregivers, parents, and mentors in addition to documenting
       children’s behavior problems and academic outcomes.

Intramural Grants and Gifts—PI or CoI
Active
Charles, P., Lexau, E., & Poehlmann, J. Building Reading and Relationships with Justice-Involved Families. Wisconsin Idea
         Collaboration Grant, UW-Madison.
         07/01/2022-06/30/2024
         $59,898
         This project investigates and builds on Making Reading Memories (MRM), a core strategy in the Division of Extension’s
         Literacy Link program. MRM promotes reading and relationship-building opportunities between incarcerated parents and
         children.

Poehlmann-Tynan, J., Massoglia, M., Charles, P., & Kerr, M. Enhanced Visits Intervention to Reduce Recidivism for Incarcerated
       Parents. Wisconsin Alumni Research Foundation, Fall Competition Award.
       9/15/2021-08/22/2022
       $50,849
       This project focuses on providing a visiting intervention to the Dane County Jail residents and their families, with a goal of
       lowering recidivism.

Poehlmann-Tynan, J., & Loucks, N. PIs. A Global Estimate of the Numbers of Children with Incarcerated Parents and Their Well-
       being. Global Health Institute, University of Wisconsin-Madison.
       7/1/2020-6/30/2022
       $23,528
       This project focuses on developing estimates of the numbers of children with incarcerated parents and their well-being in
       South Korea, Canada, New Zealand, Uganda, and the United Kingdom.

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Poehlmann-Tynan, J., & Dillon, P. PIs. A Program Evaluation for Cultural Connections in Elementary School Children with
       Incarcerated Parents. The Morgridge Center, University of Wisconsin-Madison.
       7/1/2020-6/30/2022
       $10,000
       This grant funds a program evaluation of Cultural Connections, a cultural arts after school program for elementary school
       students in Madison WI.

Completed
Poehlmann-Tynan, J., & Massoglia, M., PIs. Kerr, M., Charles, P., Holden, K., & Sager, L., Co-Is. Improving Outcomes for
       Incarcerated Parents and their Children through Enhanced Jail Visits. University of Wisconsin-Madison UW2020.
       7/1/2018-6/30/2021
       $350,000
       This project focuses on developing a multidisciplinary, multi-level intervention strategy to improve visits between children
       and their jailed parents.

Poehlmann-Tynan, J., PI; Yeary, J., Co-I. Helping Infants and Toddlers Cope with Parental Incarceration.
       UW-Madison Baldwin Wisconsin Idea Endowment Seed Grant.
       7/1/2018-6/30/2019
       $4000
       This grant involves revising a board book for infants/toddlers with military parents for infants/toddlers with incarcerated
       parents.

Poehlmann-Tynan, J., and Shlafer, R., Principle Investigators. Using Developmentally Appropriate Educational Materials to Improve
       Child Behavioral Health and Family Relationships when Parents are in Jail
       University of Wisconsin-Madison ICTR / University of Minnesota CTSA Collaborative Health Equity Award.
       04/14/2013-04/13/2015
       $149,805
       This grant focused on addressing health inequities in children of jailed parents in 2 states using materials that the PI
       developed with Sesame Street for young children with incarcerated parents.

Poehlmann, J., PI. Fieldwork on Contemplative Practices with High Risk Preschoolers: Children’s Empathic, Compassionate, and
       Self-Regulatory Behaviors.
       Gift from Dorothy O’Brien
       7/1/2012-6/30/2015
       $89,000
       This gift provided matching funds for the Mind & Life Fellowship to investigate mindfulness as an intervention to improve
       self-regulation and compassion in high risk preschoolers.

Poehlmann, J., PI; San Juan, R., Co-Investigator. Project Grow—Community-Based Research to Enhance the Development of Low
       Income Preschoolers and Families
       Morgridge Center, University of Wisconsin-Madison
       1/1/2011-8/31/2012
       $24,285
       This grant funded data collection from community partners, families, and students regarding future directions for Project
       Grow at UW-Madison, a center-based intervention for low income preschoolers and their families.

Poehlmann, J., PI. The Development of Self-Regulation in High Risk Infants: School Age Follow Up
       University of Wisconsin Research Competition
       7/1/2009-6/30/2010
       $22,928
       This grant funded initial 6 year data collection for the preterm project and was submitted as insurance against an NICHD
       renewal application.

Poehlmann, J., PI. Supplement for the University of Wisconsin-Madison Jumpstart Program.
       Evjue Foundation
       6/30/2006 – 5/31/2008
       $24,000
       This grant provided additional support for the first and second years of the UW-Madison Jumpstart program.

Poehlmann, J., PI. The Jumpstart Program at the University of Wisconsin-Madison.
       School of Human Ecology Outreach Planning Council, Beckner Endowment
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        6/01/2006 – 5/31/2007, 7/01/2008-6/30/2009
        $22,000
        The grant provides salary support, a graduate student, and student hourly for the first year and continuation of the UW-
        Madison Jumpstart program.

Poehlmann, J., PI. The Development of Self-Regulation and Its Implications for Cognitive and Behavioral Outcomes in Preterm
       Infants
       University of Wisconsin Research Competition
       7/1/2005-6/30/2006
       $18,000
       This grant funded initial data collection for a 36 month follow-up for my NIH-funded longitudinal study of preterm infants.

Poehlmann, J., PI Interaction Quality as a Mediator of the Relation between Maternal Depression and Infant Social Emotional and
       Cognitive Outcomes in Preterm Low Birthweight Infants
       University of Wisconsin Research Competition
       7/1/02-6/30/04
       $21,000
       This grant funded initial training, recruitment and data collection that led to the NIH funded longitudinal study of preterm
       infants.

Poehlmann, J., PI. Dissemination Project for Grandparents Raising Grandchildren
       University of Wisconsin, School of Human Ecology Beckner Endowment
       9/1/2002-5/31/2003
       $15,000
       This grant funded a series of fact sheets that disseminated research focusing on attachment relationships to grandparents
       raising their grandchildren.

Poehlmann, J., PI. Risk and Resilience in Children of Incarcerated Mothers
       University of Wisconsin Research Competition, PI
       7/1/2000-6/30/2001
       $15,500
       This grant provided initial funding for training, collection of pilot data, and recruitment of subjects for the larger study of
       children of incarcerated mothers.

                                                      Other Federal Grants
Training Grants
2000-2005, 2005-2010, 2011-2016, 2017-2021 (Sequential competing continuations of training grant)
Poehlmann, J., Core Faculty. Postdoctoral Training Program in Intellectual & Developmental Disabilities Research Program
        Directors, Leonard Abbeduto and, subsequently Marsha Mailick, subsequently Sigan Hartley
        T32 HD07489 National Institute of Child Health and Human Development
        Waisman Center, University of Wisconsin–Madison.

Poehlmann, J., Project Director. Predoctoral Fellowship awarded to Amy Jo Miller Schwichtenberg. The Development of Sleep
       Patterns in Preterm Infants.
       F31 HD051035 National Institute of Child Health and Human Development
       7/01/2005 – 6/30/2008
       $92,880
       This fellowship provided 3 years of predoctoral support for my graduate student’s research under my supervision.

Completed Outreach Program Grants
San Juan, R., PI; Poehlmann, J., Co-PI. Project Grow Preschool Intervention.
        Wisconsin Americorps Commission
        9/01/2012 – 8/31/2013
        $69,000
        The program pairs undergraduate students with low income preschoolers to increase school readiness in the areas of literacy
        and social development and provides volunteer opportunities to strengthen families and communities.

Poehlmann, J., PI. Project Grow Preschool Intervention.
       Wisconsin Americorps Commission
       9/01/2009 – 8/31/2012
       $277,720
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        This program is a collaboration among the School of Human Ecology, the Office of Childcare and Family Resources, and the
        Office of Student Financial Services and three low income preschool programs in the community. The program pairs
        undergraduate students with low income preschoolers to increase school readiness in the areas of literacy and social
        development and provides volunteer opportunities to strengthen families and communities.

Poehlmann, J., PI. University of Wisconsin-Madison Jumpstart Higher Education Affiliation.
       Jumpstart Organization & Americorps
       6/30/2006 – 8/31/2009
       $180,736
       This program ran for 3 years as a collaboration between four units at UW-Madison (the School of Human Ecology, the
       Office of Childcare and Family Resources, the Morgridge Center, and the Office of Student Financial Services) and partnered
       with three low income preschool programs in the community. The program paired undergraduate students with low income
       preschoolers to increase school readiness in the areas of literacy and social development. The program generated evaluation
       data focusing on social emotional and language outcomes.

Poehlmann, J., Investigator. Interaction Quality as a Mediator of the Relation between Maternal Depression and Infant Social
       Emotional and Cognitive Outcomes in Preterm Low Birthweight Infants
       Project # 02-050-01A1
       4/1/2002-10/31/2005
       293 scatter-bed nurse hours per year (total amount not available)
       The UW-General Clinical Research Center, as part of an NIH-funded center grant, provided support for research nurses at
       Meriter Hospital to recruit infants from the special care nursery for my study of preterm infants.
       Drezner, M. K., Director, General Clinical Research Center–University of Wisconsin Madison Medical School, M01
       RR03186

                                                           TEACHING

                                             Funded Teaching Grants–Completed
Poehlmann, J., & Aquilino, W. Human Development & Family Studies 362: Development of the Young Child televideo course
        UW-Madison Office of Continuing Education
        July 2001-June 2002: $180,000
        This grant provided funding to produce a televideo course that served approximately 250 students; added 1 teaching assistant
        for a total of 5.
Aquilino, W., & Poehlmann, J. Human Development & Family Studies 362: Development of the Young Child televideo course
        UW-Madison Office of Credit Outreach
        July 2000-June 2001: $198,000
        This grant provided funding to produce a televideo course that served approximately 250 students; added 2 teaching
        assistants for a total of 4.
Poehlmann, J. Development of video resources for Human Development & Family Studies 362
        UW-Madison Office of Credit Outreach
        January 2000: $10,000
Poehlmann, J. WebWorks grant to implement web technology in teaching
        UW-Madison Division of Information Technology
        1999-2000 academic year: $1,000
Poehlmann, J. Improvement of televideo course.
        UW-Madison Teaching Academy Summer Institute, Teaching and Learning in the New Millennium
        June, 2000: $800

                                            Graduate and Undergraduate Instruction

Undergraduate Courses
       1. Human Development & Family Studies 362: Development of the Young Child
               Televideo course
                        Fall 1999-Fall 2000, 220-237 students
               Honors section
                        Spring 2001, 8 students
               Special TRIO section
                        Fall 2003, 16 students
       2. Human Development & Family Studies 516: Family Stress and Coping
               Spring 1999, 30 students
       3. Human Development & Family Studies 663: Developmental and Family Assessment
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                  Community-based learning class
                  Spring 2002-Spring 2023, 26-40 students per semester
         4. Human Development & Family Studies 601: Internship
                  Community internships
                          1999-2001, 12 students
                  Research internships/Small Learning Communities
                          2001-2011: 5-20 students per semester
         5. Human Development & Family Studies 501: Observational Research with Young Children
                          2008-2011, 6-17 students per semester
         6. Human Development & Family Studies 501: Children of Incarcerated Parents
                          Fall 2011, 32 students (3 graduate students)
         7. Section of Human Development & Family Studies 592: Research Experience in HDFS
                          Spring 2015-Spring 2018, 2-6 students per semester
                          Fall 2018, 26 students
                          Fall 2019, 16 students
                          Fall 2021, 16 students
         8. Human Development & Family Studies 501/Legal Studies 340: Protest, Policing, and Social Justice Movements
                          Spring 2021, 100 students
         9. Human Development & Family Studies 501: Incarceration and Families
                          Spring 2022, 40 students

Graduate Courses
       1. Human Development & Family Studies 760: Infancy and the Family
               Spring 2000-Fall 2014, 5-12 students per class
       2. Human Development & Family Studies 664: Proseminar in Human Development and Family Studies
               Fall 2000 & Fall 2005, 4-11 students per semester
       3. Human Development & Family Studies 766: Current Issues: Professional
       Development Seminar
               Spring 2004, 2009, 2012, 2013: 6-12 students per semester
               Presentations on grant writing, teaching, academic and non-academic jobs, and preliminary exams as well as student
               presentations.
       4. Human Development & Family Studies 601: Internship
               Spring 2005-Fall 2007: 1-2 graduate students per semester
       5. Human Development & Family Studies 818: Attachment Theory and Relationships
               Spring 2006, 12 students
               Spring 2008, 10 students
               Fall 2013, 10 students
               Spring 2018, 13 students
       6. Human Development & Family Studies 766: Incarceration and the Family / Children with
               Incarcerated Parents
               Spring 2010, 9 students (graduate students and law students) (co-taught with law clinical instructor Leslie Shear,
               J.D., “meets with” Law 939: Problems in Family Law Seminar)
               Spring 2015, 6 students
               Fall 2016, 8 students
               Spring 2019, 13 students
               Spring 2022, 10 students
       7. Human Development & Family Studies/Educational Psychology 725: Developmental Theory and
               Research OR HDFS 766 Developmental theory and research: Prenatal to middle childhood
               Spring 2020, 12 students
               Fall 2021, 10 students

                                               Curriculum and Website Development
New Courses
Developed a new undergraduate course “Incarceration and Families” for Spring 2022 to teach in HDFS and the Criminal Justice
Certificate offered by the Center for Law, Society, & Justice. The course presents interdisciplinary research focusing on child and
family well-being during and following parental incarceration, including discussion of the context of incarceration from historical,
sociological, and public policy perspectives.

Developed a new undergraduate course “Protest, Policing, and Social Justice Movements” for Spring 2021 to teach in HDFS and
Legal Studies majors. Over the course of 2020, the U.S. witnessed large scale protests surrounding policing and social justice, in
particular about policing of Black communities. This course brings together interdisciplinary scholars, professionals, and community
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members to examine a range of issues that are part of these movements and conflicts, including implications for communities, the
criminal justice system, and individual (children and adults) and family development.

Developed a new graduate course “Developmental Theory and Research I: Prenatal to Middle Childhood” for the Spring 2020
semester. The course presents theory and research focusing on children’s cognitive, social emotional, sensorimotor, and language
development from the prenatal period to middle childhood. There is equal emphasis on traditional developmental theories and
contributions from diverse scholars that emphasize equity and inclusion. The course integrates both developmental and family
perspectives and presents the context of theory and research in historical, sociological, and public policy perspectives.

Developed a new undergraduate course “Children of Incarcerated Parents” for the Fall 2011 semester. The course presents research
focusing on children’s cognitive, social, emotional, and academic difficulties when parents are incarcerated, including areas that are
promising in terms of resilience. The course integrates both developmental and family perspectives regarding affected children and
presents the context of incarceration in historical, sociological, and public policy perspectives.

Developed new graduate course “Incarceration and the Family” in conjunction with Law School for the Spring 2010 semester. This
course presents an interdisciplinary approach to families and incarceration, emphasizing family law and behavioral science
perspectives. When an individual is incarcerated, the family members they leave behind are affected in multiple ways. Children of
incarcerated parents are at risk for negative outcomes, including attachment insecurity, behavior problems, cognitive delays, substance
abuse, and criminal activity. Incarcerated parents themselves often face insurmountable barriers to maintaining meaningful
relationships with their children and other family members. Key issues include contact between the child and the incarcerated parent,
social stigma, race/ethnicity, and interfacing with other systems such as family court, child welfare and juvenile justice systems.

Developed new graduate course HDFS 818 “Attachment Theory and Relationships” for the Spring 2008 semester; approved by HDFS,
SoHE, and UW-Madison Divisional Committee in 2010. This course examines attachment theory and research (and critiques of this
approach) pertaining to relationships formed in infancy and across the lifespan. Topics covered include the historical context of
attachment theory and research; parent, child, and interactional contributions to attachment; attachment at the representational level;
applications to high risk populations such as maltreated children and families of grandparents raising grandchildren; cultural issues;
and application to adult personality and intimacy.

Developed new undergraduate course “Human Development & Family Studies 663: Developmental and Family Assessment” in 2002.
As the department’s only service learning class (now called community-based learning), students practice the following skills in their
early childhood education service learning sites: interviewing parents about the child’s development, observations of children’s
behaviors and skills, portfolio assessment, and report writing.

Websites
Developed and maintained website and blog www.kidswithincarceratedparents.com to disseminate research to the general public,
2016-2023

Designed, implemented, and maintained Human Development & Family Studies 362 public access website, 8/99-6/01
http://distance.education.wisc.edu/hdfs362/

WebCT site for Human Development & Family Studies 362 (including grade management, discussion boards, and surveys), 8/99-
6/01; collaborated with DoIT to complete comprehensive assessment of student experiences with WebCT and use of technology in
class

Worked with Steenbock Library to create website for undergraduates in Human Development & Family Studies 362 focusing on
"Library Research Strategies" (http://www.library.wisc.edu/libraries/Steenbock/bipage/pres/cfs362/cfs362.htm)

Worked with Steenbock Library to create website for graduate students in Human Development & Family Studies 664 focusing on
Library Research (functional from 2000-2001) (http://www.library.wisc.edu/libraries/Steenbock/bipage/pres/cfs664/cfs664.htm)

Honors Human Development & Family Studies 362 public access website: (functional during the Spring 2001 semester)
(http://www.access.education.wisc.edu/cfs362/362home.htm)

Videos
3 30-minute videos summarizing research with children of incarcerated parents, produced with UW-Extension and School of Human
Ecology

125 50-minute copyrighted videotapes focusing on child development; produced in conjunction with the University of Wisconsin
Instructional Media Development Center

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40 hours of video documenting examples of child development and interviews with child development researchers and professionals;
produced with the UW Instructional Media Development Center

                                                    Graduate Student Committees

Chair (Current)
Janice Jones (entered Ph.D. program in January 2015; passed preliminary exam, 2019; defended dissertation proposal, December
         2019)
Kaitlyn Pritzl (entered Ph.D. program in August 2020; passed thesis, spring 2022)
Chandni Anandha Krishnan (entered Ph.D. program in August 2022)

Chair (Completed)
Brianne Patchell (master’s thesis defense 5/03)
    Thesis title: The success of family-centered intervention with families experiencing multiple risk factors
Rosalie Margolis (doctoral dissertation defense 3/04)
    Dissertation title: Intergenerational influences on children’s sibling relationships
Amy Jo Schwichtenberg (master’s thesis defense 9/04)
    Thesis title: Using Applied Behavior Analysis for treating children with Autism Spectrum Disorders: How does intervention
    intensity relate to family needs and maternal mental health?
Jon-Paul Bianchi (master’s thesis defense 12/06)
    Thesis title: Maternal social isolation as a mediator of the relationships between neonatal health risks, maternal depressive
    symptoms, and infant-mother interaction quality in medically fragile infants
Rebecca Shlafer (master’s thesis defense 5/07)
    Thesis title: Children of incarcerated parents: Attachment relationships and behavioral outcomes in the context of a mentoring
    program
Amy Jo Miller Schwichtenberg (doctoral dissertation defense 6/08)
    Dissertation title: Sleep patterns in preterm and low birthweight infants
Jennifer Kang Park (doctoral dissertation defense 5/09)
    Dissertation title: Risk and resilience in families of grandparents raising grandchildren
Brianne Friberg (doctoral dissertation defense 4/10)
    Dissertation title: Testing theoretical models of aggression and sustained attention
         development within the context of Early Head Start
Amy Gilliland (doctoral dissertation defense 5/10)
         Dissertation title: A grounded theory of effective doula support
Cynthia F. Burnson (master’s thesis defense 5/11)
         Thesis title: Differential susceptibility, effortful control, and attachment in children born preterm
Hilary Runion (master’s thesis defense, 8/14)
         Thesis title: Mothers and the reentry process: Planning for reunification after incarceration
Lindsay A. Weymouth (doctoral dissertation defense, 4/16)
         Dissertation title: Family chaos, caregiving quality and stress among children of jailed parents: A pilot study
Cynthia F. Burnson (doctoral dissertation defense, 5/16)
         Dissertation title: Resilience in young children of jailed parents
Abra Bankendorf Vigna (doctoral dissertation defense, 8/16)
         Dissertation title: Self-compassion as a resilience factor in gender and sexual minority youth
Hilary Runion (doctoral dissertation defense, 12/16, graduated 5/17)
         Dissertation title: Young children who visit their jailed fathers: A pilot study of children’s representations of family through
         drawings
Kerrie Fanning (master’s thesis defense, 6/18)
         Thesis title: Lighthouse in the storm: A comparative case study of challenges and resilience processes for children
         experiencing homelessness and parental incarceration
Ashleigh Grendziak (master’s thesis defense, 6/18)
         Thesis title: Effects of Cognitively-Based Compassion Training on parent-child interactions: Preliminary findings
Jennifer Wirth (master’s thesis defense, 4/20)
         Thesis title: This is the Way the System Works”: A qualitative analysis of recidivism among jailed parents
Kaitlyn Pritzl (master’s thesis defense, 4/22)
         Thesis title: Physiological stress and what children were told about their parent’s incarceration
Kerrie Fanning (doctoral dissertation defense, 5/22)
         Dissertation title: Families’ housing experiences in contexts of stress


M.S. and Ph.D. Committee Member (UW-Madison unless specified)
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Current
Talia Cohen, Ph.D., Clinical Psychology
Moon Evans, Ph.D., Educational Psychology
Nahlah Mandurah, Ph.D., Educational Psychology
Ari Brouwer, M.S., Human Development & Family Studies
Bolim Suh, Ph.D., Human Development & Family Studies
Sophie Kerr, Ph.D., Clinical Psychology, University of Houston (mentor on funded NIH F31 fellowship)
Aybuke Geyik, MFA, Design Studies
Yan Yi, Ph.D., Educational Psychology
Jessica Reid, Ph.D., Family Relations & Human Development, University of Guelph, Ontario, Canada
Lillian Xu, Ph.D., Psychology
Jaime Goldberg, Ph.D./MSW, Social Work
Completed
Jiahe Wang Xu, Ph.D., Educational Psychology (June 2023)
Sarah Jensen, J.D., Ph.D., J.D., Sociology/Law (June 2023)
Kristin Dowe, Ph.D., Clinical Psychology (June 2023)
Wongeun Ji, MS & Ph.D., Educational Psychology
Luke Muentner, Ph.D./MSW, Social Work/Social Welfare
Juliana Horowitz, J.D., Criminal Law, Universidade Federal do Rio Grande do Sul, Brazil
Irene Sarmiento, Ph.D., Communication Science
Mary Cate Komoski, Ph.D., Educational Psychology
Nicholas Harnish, M.S., School of Human Ecology
Rachel DeRoos, Ph.D., School Psychology
Cortland Dahl, Ph.D., Contemplative Science
Koeun Choi, Ph.D., Human Development & Family Studies
David Metler, M.S., Human Development & Family Studies
Kara Mandell, Ph.D., Public Health
Anna Haskins, Ph.D., Sociology
Erika Cheng, Ph.D., Public Health
Mi Youn Yang, Ph.D., Social Work
Kyle Miller, Ph.D., Human Development & Family Studies
Daphne Chandler, Ph.D., Educational Psychology
Kristen Johnson, Ph.D., Human Development & Family Studies
Yae Bin Kim, Ph.D., Human Development & Family Studies
Christine Ellis, M.S., Human Development & Family Studies
Darci Fritz, M.S., Human Development & Family Studies
Colleen Choi, Ph.D., Human Development & Family Studies
Amy Kampen, Ph.D., Human Development & Family Studies
Alan Puckett, Ph.D., Social Work
Jonathan Olson, Ph.D., Human Development & Family Studies
Angel Gullon-Rivera, Ph.D., Human Development & Family Studies
Hana Song, Ph.D., Human Development & Family Studies
Carol Ostergren, Ph.D., Human Development & Family Studies
Amy Gilliland, M.S., Human Development & Family Studies
Erri Hewitt, Ph.D., Psychology
Sharon Speckhard, Ph.D., Curriculum and Instruction
Lisa Brown, Ph.D., Nursing
Robert San Juan, Ph.D., Human Development & Family Studies

Supervision of Visiting International Graduate Students
Mari Spinelli, Italy, 2011-2012
Juliana Horowitz, Brazil, 2019

Supervision of Graduate Teaching Assistants
Fall 1999-Spring 2000: Eunhee Kim, Rosalie Margolis, Geetika Tiwari
Fall 2000-Spring 2000: Angel Gullon-Rivera, Andrew Isom, Rosalie Margolis, Geetika Tiwari, Jennifer Park, Jonathan Olson
Spring 2002: Stephanie Welsh
Spring 2003: Brianne Patchell
Fall 2003-Spring 2004: AJ Schwichtenberg
Fall 2004-Spring 2005: Jennifer Park
Fall 2005-Spring 2006: Brianne Friberg
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Fall 2007: Jon-Paul Bianchi
Fall 2008-Spring 2010: Connie Lent
Fall 2010-Spring 2011: Cynthia Burnson
Fall 2011-Spring 2012: Brady Dill, Laura Pinsoneault, Hilary Runion
Fall 2012-Spring 2013: Dave Metler, Katty Cavero
Spring 2014: Dave Metler
Fall 2016-Spring 2018: Janice Jones
Fall 2018-Spring 2019: Shannon Wuensch
Fall 2019-Spring 2021: Kerrie Fanning, Bakari Wallace
Fall 2022-Spring 2023: Ari Brouwer

                                           Undergraduate Advising and Supervision
Advising & Mentoring
Average of 20-30 undergraduate advisees per semester in Family Studies and Child Development major options from 1999-2006;
      Average of 30-40 undergraduate mentees per semester from 2007-present

Research Supervision and Mentoring
Research-focused Independent Study
      Approximately 6-15 students per semester
Undergraduate Research Scholars Program
      2002-2003: Ashley Leinhardt, Stephanie Whiteaker
      2003-2004: Mai Choua Vue
      2004-2005: Hannah Jurowicz, Sheila Nguyen
PEOPLE Program
      2012: Kara Coates, Jasmine Bradley-Wilson
      2018-2019: Anisa Yudawanti
Undergraduate Research Symposium mentor
      Spring 2002-Spring 2022: 2-12 students per year (2017 presentations listed as examples)
    • Kaitlyn Pritzl & Ashley Peterson, Incarcerated Parents of Young Children: Type of Parental Crime and Children's Behavior
        Problems
    • Zoe Milavetz, Lexi Frerks, & Delaney Haese, Incarcerated Parents of Young Children: Racial Disparities in Mental Health
    • Nicole Johnson & Luke Muentner, Family Drawings and Attachment in Young Children with Jailed Parents
    • Shannon O'Neill & Gretchen Aubel, Education and Recidivism in Incarcerated Parents with Young Children
Faculty mentor (examples)
    • Bryn Anderson, 2003-2004 Wisconsin Idea Undergraduate Fellowship Recipient, Project entitled Oakhill Correctional
        Institution and the Oregon Community: Learning Together
    • Rebecca Shlafer, 2003-2004 Honors Thesis, Early menarche and its relation to body dissatisfaction and family relationships
        in late adolescent girls
    • Aimey Enemuoh, Summer 2004 NSF-funded Psychology Research Experience Program, Variation in preterm infant-mother
        play interactions at 4 months post-term based on race/ethnicity
    • Jennifer Mohr, 2006-2007 Honors Thesis The association between assessed infant and parent behavior and affect in preterm
        infants
    • Nicole Johnson, 2016-2017 Honors Thesis Children’s attachment behaviors when visiting parents in jail
    • Luke Muentner, 2016-2017 Honors Thesis On the move: Residential instability and homelessness among jailed parents with
        young children
    • Zoe Milavetz, 2017 Honors Thesis Mental health in incarcerated parents with young children
    • Kaitlyn Pritzl, 2018 Honors Thesis Visits with incarcerated parents and children’s behavior problems
    • Stella Zhou, 2019 Honors Thesis
    • Anisa Yudawanti, 2019 Honors Thesis
    • Bertha Gonzalez Gonzalez, 2021-2022 Honors Thesis; McNair Scholars Program
    • Karleigh Wolff, 2021-2022 Honors Thesis

                                              SERVICE AND OUTREACH

                                                      To the Public
Consultation
2023               Column in Parenting Connections newsletter, a publication of the Correctional Education Association
2022               Community Advisory Board Member, Mediational Intervention for Sensitizing Caregivers (MISC), University of
                   Houston and Baylor College of Medicine
2022               Technical Assistance for Developing an Institution Model for Children Staying with their Mothers-
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                  International Working Group Expert, Turkey. Funded by the European Union.
2021              Consultant, Child Welfare Capacity Building Center for States, funded by the Children’s Bureau, Administration
                  for Children and Families, U.S. Department of Health and Human Services
2019              Consulted on the content of the Parenting Connections newsletter of the Correctional Educational Association of
                  Wisconsin
                  http://ceawisconsin.org/sites/region3/uploads/CEA-W/Parenting-Connection-News/2019/PCMay-
                  June2019.pdf?CFID=10775560&CFTOKEN=51956204
2019              Provided guidance to a Community Advisory Team established by the Illinois
                  Department of Corrections (IDOC) to implement gender responsive reforms per the Women’s Correctional
                  Services Act that was passed in 2017. The focus is implementing reforms, including policies and practices, that
                  address the needs of incarcerated mothers and reduce the harmful impact of incarceration on their
                  children. Researchers at Chapin Hall at the University of Chicago and the University’s School of Social
                  Administration are conducting a study to help inform the Community Advisory Team’s work.
2018              Served on expert panel regarding new funding directions for the Federal Administration for Children,
                  Youth, and Families, Washington, D.C. Hosted by MDRC
2018              Provided expert consultation for legal case in Maryland re: children with incarcerated parents
2018              Provided testimony as expert witness in case re: children with an incarcerated parent, Phoenix, Arizona.
2018-19           Elected Board Member, International Coalition for Children of Incarcerated Parents
2017-19           Leadership Team, Wisconsin Southern Chapter of the Wisconsin Alliance for Infant Mental Health
2017-18           Wisconsin’s Office of Children’s Mental Health Collective Impact Resilience Workgroup
2017-18           Education Program and Evaluation Committee, Reach Dane, Madison, WI
2017              Provided expert consultation for legal case in Arizona re: children with incarcerated parents
2016-2018         Provided expert consultation for legal cases in Wisconsin via Dane County Family Law Assistance Center, a
                  volunteer pro se legal assistance clinic
2015              January, IRP-Morgridge Poverty Fact Sheet #7: Life Beyond Bars: Children with an Incarcerated Parent
                  http://www.irp.wisc.edu/publications/factsheets/pdfs/Factsheet7-Incarceration.pdf
2014              Participated in White House event focusing on programs for children of incarcerated parents
2013              Participated in White House event focusing on research and policy for children of incarcerated parents
2011              Provided testimony as expert witness, Sauk County, Wisconsin.
2011-2015         Advisor to Sesame Street for their new Resilience initiative
2009-2013         Supervising psychologist, Waisman Center Developmental Disabilities and Child Development Clinics
2009-2013         Campus supervisor for UW-Madison Project Grow, a preschool intervention for low
                  income children and families
2007              Consultation with Wisconsin Public Television; assisting with writing outreach
                  guide entitled “Supporting Children: A Caregiver’s Guide” that accompanied
                  the documentary focusing on methamphetamine addiction and children removed
                  from their homes as a result of parental meth addiction (“Shadow of Meth”).
                  http://www.wpt.org/outreach/attach/SupportingChildrenCaregiversGuide.pdf
2006-2009         Campus supervisor for UW-Madison Jumpstart program, including working with student committees that provide
                  volunteer support to local communities and low income preschools.
2006              Member of the Pearson Foundation’s Teacher Fellowship Advisory Board. Inaugural meeting in Atlanta, Georgia,
                  November 2006; shared ideas for supporting preschool teachers and encouraging promising college students to
                  pursue careers in early childhood education
2004-2007         Consultation for Madison Urban Ministry’s Mentoring Children of Incarcerated Parents DHHS grant (Mentoring
                  Connections); partner in University-Community evaluation team responsible for designing and implementing
                  evaluation of mentoring program; final report, June 2007
2001-2003         Created training manual and edited videotape of 30 parent-infant interactions to train students, researchers, and
                  home visiting professionals to use the Pediatric Parent Infant Exam, an observational screening measure of parent-
                  infant interaction quality
1999-2002         Consultation to parent counselor at R. E. Ellsworth Correctional Facility for women, Union Grove, Wisconsin
1999-2000         Obtained small grants from Friends of the Waisman Center to set up children's play area in visiting room at R. E.
                  Ellsworth Correctional Facility for women, Union Grove, Wisconsin and to provide educational toys and books
                  for Wisconsin families who are raising young children of incarcerated mothers

Educational Broadcasts
 1999-2001:      Wisconsin Public Television aired the televised Human Development & Family Studies 362: Development of the
                 Young Child classes on a weekly basis throughout the state
 2013:           Webinar. Poehlmann, J., & Massoglia, M. (December, 2013). Incarceration, poverty, and the family. Institute for
                 Research on Poverty, University of Wisconsin, Madison.
 2017:           Podcast. Poehlmann-Tynan, J. Attachment in young children with incarcerated fathers. Institute for Research on
                 Poverty, University of Wisconsin-Madison.
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  2019:            Webinar. Poehlmann-Tynan, J. Engaging with incarcerated parents. Coalition for Children, Youth, and Families,
                   Milwaukee, Wisconsin.
  2021:            Webinar. Poehlmann-Tynan, J., Barrett, K., & Charles, P. (September, 2021). How to better serve families
                   involved in the criminal justice system. Institute for Research on Poverty, University of Wisconsin-Madison.
                   https://www.irp.wisc.edu/resource/how-to-better-serve-families-involved-in-the-criminal-justice-system/
  2021:            Webinar. Jeremiah, R.D., Poehlmann-Tynan, J., & Thomas, A. (April, 2021). Men’s health: A roundtable
                   discussion at the intersection of race, gender, and health. Equity & Inclusion Committee, Department of Nursing,
                   University of Illinois at Chicago.
  2022:            Radio show. Poehlmann, J. (April, 2022). Children with incarcerated parents. University of the Air, Wisconsin
                   Public Radio. https://www.wpr.org/shows/children-incarcerated-parents
  2022:            Radio show and podcast. Poehlmann, J. (May, 2022). Children of incarcerated mothers. Dr. Mara Karpel and
                   Your Golden Years. https://drmarakarpel.com/kids-of-incarcerated-mothers_volunteerism/
  2022:            Broadcast television program. Poehlmann, J. (August, 2022). Children with incarcerated parents. Wisconsin
                   Public Television.
  2022:            Webinar. Poehlmann, J. (October, 2022). Children with incarcerated parents: Overview, witnessing parental
                   arrest, and facilitating positive parent-child communication. Seeing and Supporting Children of Incarcerated
                   Parents, New York Permanent Judicial Commission on Justice for Children, New York State.


Outreach Presentations since 2000
Poehlmann, J., & Fanning, K. (August, 2023). Adverse childhood experiences and mental health in justice involved youth. Juvenile
        Justice Seminar, Wisconsin Office of Judicial Education, Madison, WI.
Poehlmann, J. (April, 2023). Hidden victims of incarceration: Children with incarcerated parents. Correctional Education
        Association, Region III and IV Training Conference, Building Connections through Correctional Education. Madison, WI.
Poehlmann, J. (March, 2023). Connecting young children with their incarcerated parents. University of Wisconsin Infant, Early
        Childhood and Family Mental Health Capstone Certificate Program offered by the Department of Psychiatry, UW School of
        Medicine and Public Health, Madison, WI.
Poehlmann, J. (November, 2022). Maternal and child health in the context of maternal incarceration. First annual women-led FREE
        summit, Beyond the Bars: Impact of Incarceration on Women, Community, and Health. Madison, Wisconsin.
Poehlmann, J. (March, 2022). Connecting young children with their incarcerated parents. University of Wisconsin Infant, Early
        Childhood and Family Mental Health Capstone Certificate Program offered by the Department of Psychiatry, UW School of
        Medicine and Public Health, Madison, WI.
Poehlmann, J. (February, 2022). Supporting children affected by parental incarceration. University of Wisconsin Extension. Training
        workshop for early childhood educators. Southeast Wisconsin.
Poehlmann-Tynan, J. (June, 2021). Children with incarcerated parents. Grace Lutheran Church, Madison, Wisconsin.
Poehlmann-Tynan, J., & Witt, H. (May, 2021). When a parent is incarcerated: Building resilience. Training presented to Dane County
        Court Appointed Special Advocates, Madison, Wisconsin.
Poehlmann-Tynan, J. (April, 2021). Children with incarcerated parents. Covenant Presbyterian Church, Madison, Wisconsin.
Poehlmann-Tynan, J., & Short, S. (October, 2020). The developing mind. The World that We Make, Center for Healthy Minds.
Poehlmann-Tynan, J. (September, 2020). Children with incarcerated parents. Wisconsin Public Child Welfare Conference.
Sponsored by Badger Talks
        Poehlmann-Tynan, J. (October, 2021). Adverse childhood experiences and well-being. All of Us Research Program,
                 Milwaukee, Wisconsin.
        Poehlmann-Tynan, J. (January, 2021). Building resilience in children and families. Rochester, Minnesota.
        Poehlmann-Tynan, J. (December, 2019). Resilience and the power of children. Chippewa Valley Museum, Eau Claire,
                 Wisconsin.
        Poehlmann-Tynan, J. (September, 2019). Engaging incarcerated parents. Families Like Mine: Wisconsin Relative
                 Caregivers for Children Conference. The Coalition for Children, Youth & Families. Wisconsin Department of
                 Children and Families, Wisconsin Dells, Wisconsin.
        Poehlmann-Tynan, J., Engbretson, A., & Pritzl, K. (June, 2019). Children with incarcerated parents. Training provided to
                 counselors and staff at Camp Reunite, Turning Rivers Campsite, Campbellsport, Wisconsin.
        Poehlmann-Tynan, J. (April, 2019). Children with incarcerated parents. T4 club of Madison, Wisconsin.
        Poehlmann-Tynan, J. (April, 2019). Grandparents raising grandchildren. YMCA of the Northwoods, Rhinelander,
                 Wisconsin.
Poehlmann-Tynan, J. (November, 2018). Public health crisis: Incarcerated women. Zonta Club of Madison, Area 2, District 6, of
        Zonta International, Madison, Wisconsin.
Poehlmann-Tynan, J., & Fanning, K. (June, 2018). “Daddy’s in a big time out”: How to talk with young children about parental
        incarceration. Wisconsin Alliance for Infant Mental Health Conference, Elkhart Lake, Wisconsin.
Fanning, K., & Poehlmann-Tynan, J. (May, 2018). Parental incarceration and young children. Reach Dane, Madison, Wisconsin.
Poehlmann-Tynan, J. (May, 2018). Grandparents raising grandchildren in the context of parental incarceration. Invited speaker,
        along with Representative Tittl, Elizabeth Hudson (Director of Office of Children’s Mental Health), and Tonette Walker.
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       Manitowoc, Wisconsin.
Poehlmann-Tynan, J. (April, 2018). Children with incarcerated parents. Keynote speaker, Madison Area Urban Ministry’s Partners
       for Change Fundraising Luncheon. Madison, Wisconsin.
Poehlmann-Tynan, J., & O’Neill, S. (March, 2017). Children with incarcerated parents. Law Enforcement Organization (LEO).
       University of Wisconsin-Whitewater.
Poehlmann-Tynan, J., & Johnson, N. (February, 2017). Children with incarcerated parents: Implications for practice and policy.
       Reach Dane (Head Start and Early Head Start) family service providers, Madison, WI.
Poehlmann-Tynan, J. (June, 2017). Young children’s attachment relationships when parents are incarcerated. Wisconsin Alliance for
       Infant Mental Health Conference, Elkhart Lake, Wisconsin.
Poehlmann-Tynan, J. (June, 2016). Young children with incarcerated parents. Wisconsin Alliance for Infant Mental Health
       Conference, Elkhart Lake, Wisconsin.
Poehlmann-Tynan, J. (October, 2015). Children with incarcerated parents. Presentation for Region 7 Child Welfare Directors (Iowa,
       Missouri, Nebraska, Kansas, Tribes). The Children’s Bureau, Administration for Children and Families, U.S. Department of
       Health and Human Services Child Welfare Capacity Building Collaborative: Capacity Building Center for States.
Poehlmann-Tynan, J. (October, 2015). Children with incarcerated parents: Risks and interventions. Wisconsin Correctional
       Association, Lake Geneva, Wisconsin.
Poehlmann-Tynan, J. (September, 2015). Children with incarcerated parents. Court appointed special advocates (CASA) conference.
       Madison, Wisconsin.
Poehlmann-Tynan, J. (February, 2015). Promoting attachment relationships in families affected by parental incarceration. University
       of Wisconsin Infant, Early Childhood and Family Mental Health Capstone Certificate Program offered by the Department of
       Psychiatry, UW School of Medicine and Public Health, Madison, WI.
Poehlmann-Tynan, J. (February, 2015). What we know about children with incarcerated parents. Racine County Forum on Children
       of Incarcerated Parents, Racine, WI.
Poehlmann-Tynan, J. (October, 2014). Children of incarcerated parents. Lunch and Learn, Sauk County, UW-Extension, Baraboo,
       Wisconsin.
Poehlmann-Tynan, J. (February, 2014). Young children with incarcerated parents. Certificate program in Infant, Early Childhood, and
       Family Mental Health, Department of Psychiatry, University of Wisconsin.
Poehlmann, J. (May, 2013). Children of incarcerated parents. Wisconsin Family Court Commissioner Annual Conference,
       Milwaukee, Wisconsin.
Poehlmann, J. (September, 2012). Children with incarcerated parents: Trauma, risk, and resilience. Children’s Trust Fund, Madison,
       Wisconsin.
Poehlmann, J. (September, 2012). Children with incarcerated parents: Information for early childhood professionals. Waisman
       Center, Madison, Wisconsin.
Poehlmann, J. (April, 2011). Children of incarcerated parents. Southern Child Welfare Training Partnership, Madison, Wisconsin.
Poehlmann, J. (November, 2010). The development of self-regulation in high risk infants. Infant Mental Health continuing education
       certificate program, Madison, Wisconsin.
Poehlmann, J. (March, 2009). Children of incarcerated parents. Milwaukee Public School District, Milwaukee, Wisconsin.
Poehlmann, J. (September, 2008). Grandparents raising grandchildren. On Good Authority http://www.ongoodauthority.com/,
       Continuing education for mental health professionals.
Poehlmann, J., & Hahn, E. (June, 2008). Assessment of preschoolers’ attachment relationships. Wisconsin Alliance for Infant
       Mental Health Conference, Madison, Wisconsin.
Poehlmann, J. (July, 2005). Relationships in families of grandparents raising grandchildren. Wisconsin Department of Health and
       Family Services, Birth to Three statewide training network, Madison, Wisconsin.
Poehlmann, J. (May, 2005). Family relationships in children of incarcerated mothers. UW-Extension Family Living Education
       Network, Madison, Wisconsin.
Poehlmann, J. (August, 2004). Characteristics of families affected by parental incarceration.
       Consultation to Madison-area Urban Ministry, Madison, Wisconsin.
Poehlmann, J. (January, 2004). Family relationships and development in high risk infants and young children. Waisman Center,
       Friends of the Waisman Center.
Poehlmann, J. (September, 2002). Children of incarcerated mothers and their families: Preliminary report on three perspectives.
       Invited testimony before the Wisconsin Joint Legislative Council’s Special Committee on Relative Caregivers, Madison,
       Wisconsin.
Poehlmann, J. (March, 2002). Extending the teaching mission of campus childcare centers: A child’s view. Presented at the School
       of Human Ecology Children’s Art Exhibit.
Poehlmann, J. (November, 2000). Disruptions in attachment relationships. Presented at Through the Eyes of a Child:
       Multidisciplinary Approach to Child Advocacy, a two day conference for guardians ad litem and other professionals,
       Madison, Wisconsin.
Poehlmann, J., Morgan, K., & Brintnall-Peterson, M. (November, 2000). Attachment theory: What grandparents need to know.
       Presented at Grandparenting: The Vital Link, a two day UW-Extension conference for grandparents and professionals,
       Milwaukee, Wisconsin.
Poehlmann, J. (June, 2000). Disrupted attachment relationships in grandparents raising grandchildren. Presented at Attachment and
                                                                                        Appendix 10, Page 33 of 40
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                                                                                                             J. Poehlmann   26
       Grandparents Raising Grandchildren, a two day retreat for multidisciplinary team working with grandparents raising
       grandchildren, Stevens Point, Wisconsin.
Poehlmann, J. (March, 2000). Disruptions in attachment relationships. Foundations of Attachment, a two day workshop for UW-
       Extension agents across Wisconsin, Madison, Wisconsin.

                                                        To the University

School of Human Ecology
        Beckner Grant Review Committee, Spring 2000
        Preschool Curriculum Committee, 2000
        Undergraduate Program Council, 2000-2001; 2002-2003; 2007-2010
                 Chair of SoHE Undergraduate Program Council 2009-2010
        Academic Affairs and Scholarship Committee, 2004-2006
        Dean's Preschool Advisory Committee, 2002-2006, 2007-8
        Preschool Research Oversight and Liaison, 2002-2006
        Academic Planning Council 2010-2015
        SoHE Governance Review Committee, 2011
        Fiscal Stewardship Committee, 2013
        Chair of Advisory Committee and Search Committee for Assistant Dean for Finance position, 2013
        Ad hoc Tenure and Promotion Review Committee, 2015
        Post-tenure review committee; full professor review committee, 2017-2019
        Post-tenure reviews: 2019-present (e.g., Mary Hark, Sarah Halpern-Meekin, Wei Dong)
        Organized public lectures (in addition to CCFW talks)
                 J. Mark Eddy, New York University, November 2018
                 Vanessa Goncalves, Universidade Federal do Rio Grande do Sul, Brazil, May 2019
                 Jason Hans, editor of Family Relations, one of the NCFR flagship journals, August 2019
        SoHE Representative to UW-Madison Curriculum Committee, 2018-2023

Director, Center for Child and Family Well-Being (CCFW), May 2012 to December 2017
            • Developed governance document and yearly budgets
            • Planned monthly seminar series for 6 years
            • Planned and hosted biennial conference (held in October 2013 and 2015 in Madison and 2017 in Seattle)
            • Maintained a balance between supporting ongoing research, new grant applications, and hosting university and
                 community education and outreach events
            • More than 2000 people attended our education and outreach events, with an additional 2500 views of our seminar
                 videos
            • Increased the diversity of audiences and participants, especially for our 2014-2017 events and in affiliated projects
            • Held spring and fall Steering Committee meetings, elected new Steering Committee members; nominated Advisory
                 Board members
            • Recruited Center affiliates from the university and community; number increased from 0 to 65.
            • Increased the number of research and outreach projects affiliated with the Center from 0 to 30. Grants, contracts, and
                 gifts run through the Center totaled more than $3,000,000 in 2017.
            • Launched new website in May 2014; major revision of website in 2016-17
            • Gave annual awards for faculty, graduate students, and community members in starting in 2014
            • Planned and hosted the first Youth On! Film Festival in November 2014
            • Planned and held annual RePLAY, children’s fashion show and sustainable play event, 2013-2016
            • Direction of the Frances and Elliott Lehman Family Research lab; secured parking space for CCFW and renewed
                 annually

Department of Human Development and Family Studies
       Department Chair, May 2011- 2015
           • Coordinated 10-year undergraduate program and 10-year graduate program reviews
           • Worked with facilitator, department, and Dean on 5-year strategic plan
           • Developed, revised, and implemented yearly departmental budgets
           • Planned fall, summer, and spring timetables
           • Hired and supervised fall, spring, and summer lecturers
           • Handled multiple personnel issues
           • Represented department at monthly meetings with Deans, Graduate School functions, Board of Visitors meeting,
               UW graduation
           • Hired and trained new department program assistants
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                                                                                                        J. Poehlmann    27
    •   Completed committee assignments each year
    •   Worked with the Center for Investigating Healthy Minds on a proposal for a joint (HDFS-CIHM) endowed chair
        positions and engaged in fund raising for position (1 funded in 2013, 1 funded in 2014; 1 funded in 2015;
        professorship also funded in 2015)
    • Chaired HDFS executive and faculty/staff monthly meetings; developed agendas, reviewed minutes, drafted motions
    • Facilitated department move into new building and problem-solved space issues
    • Coordinated course evaluations; experimented with on-line course evaluations for web-based and hybrid courses
    • Assisted with successful Vilas Associates Award nomination
    • Assisted with successful proposal to Continuing Studies to support web-based courses
    • Supported graduate program (e.g., planned faculty-student events, “chair’s chats” with graduate students, increased
        funding to graduate students)
    • Wrote chair’s letter for 4 successful tenure cases; served as committee chair for one of these
    • Increased number of students served in HDFS undergraduate and graduate programs and HDFS courses by 25‐50%
        (average in-person course increased to 40 per course per semester; online courses increased 250 per course per
        semester, with added summer sections of 50 students each)
    • Increased number of HDFS undergraduate majors from 200 to 369, with an increase of freshman and sophomores in
        the program
    • increased number of blended and online learning experiences for undergraduate students
    • Increased percent of top ranked graduate admissions enroll in HDFS graduate program
    • Provided funding to 100% of Ph.D. students
    • 100% of undergraduate and graduate students participated in high impact experiences
    • Increase in the number of national faculty awards and student awards (and nominations)
    • Closer integration with SoHE Departments, Centers, and Preschool
Undergraduate Program Committee, 1999-2005, 2007-2011, 2017-2023
    • Chair, Undergraduate Program Committee, 2007-2010; 2018-2021
             o Developed Madison Initiative Proposal, 2009
             o Revised checklists for Family Studies and Child Development options (yearly)
             o Undergraduate admissions & new student advising sessions (biennial)
             o Review of course change proposals (as needed)
             o Developed & implemented undergraduate program assessment plan (2007-10)
             o Added professional skills to major (2009-2010)
             o Developed new undergraduate program website, 2008-9
                 (http://www.sohe.wisc.edu/hdfs/undergrad/UndergraduatePrograms.htm)
             o Summarized alumni survey data; planned new survey
             o Developed Infant Mental Health concentration for undergraduate major, 2018-2022
             o Began reviewing and summarizing data for undergraduate program self-study, 2022
    • Surveyed students about effectiveness of mentoring, 2008-9
    • Curriculum development: Child Development major option, 1999-2002; Family Studies major option, 2010-11;
        HDFS major, 2011-12
    • Developed, presented, and evaluated undergraduate group advising sessions, 2002-5
    • Formed and registered the Human Development & Family Studies Student Organization in collaboration with
        undergraduate students, 2004-5 (Students for Families and Children)
    • Interim Undergraduate Program Committee Chair: 2/05-3/05
                      • Completed Human Development & Family Studies undergraduate admissions
                      • Organized and presented group advising session
                      • Organized undergraduate research panel
                      • Submitted undergraduate student award nominations
Graduate Program Committee, 2005-2006
    • Organized graduate student merit review process, 2005-2006
    • Reviewed graduate admissions folders, January 2006
    • Created combined MS to Ph.D. checklist
Human Development & Family Studies Merit Committee, 2001, 2004, 2008
Search Committees for faculty positions, 2000-2001, 2009-13 (Chair of infant/child
        subcommittee), 2022 (Chair of open rank position in early lifespan)
Search Committee Chair, 2002, teaching faculty positions
Search Committee Chair, 2013-2015, two Endowed Chair positions in Healthy Minds, Children, and Families, 2013-15
Mentoring Committee for Janean Dilworth-Bart, 2008-2014; chair, 2009-2012
Mentoring Committee for Laura Froyen, 2014-2015
Mentoring Committee for Heather Kirkorian, 2010-2016; chair, 2012-2016
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                                                                                                                J. Poehlmann   28
        Mentoring Committee for Lauren Papp, 2011-12
        Mentoring Committee for Larissa Duncan; chair, 2015
        Mentoring Committee for Margaret Kerr, 2017-2018
        Mentoring Committee for Alvin Thomas, 2017-present
        Mentoring Committee for Uchita Vaid, 2021-present
        Faculty advisor, Students for Families and Children, 2005-2006
University
        University Graduate Faculty Executive Committee, 2021-2023
            • GFEC representative for 10 year reviews of School of Business doctoral program, Rehabilitation Psychology
                 program, and undergraduate and graduate TESOL certificate programs
        University Curriculum Committee, 2018-2023
        Campus Childcare Committee, 2019-2022
        Mid-Career Faculty Mentoring Program Mentor, 2016-2018
        De Novo Tenure Review Committee, 2017-2018
        Ad hoc Advisory Committee, Sondregger Research Center, UW-Madison School of Pharmacy, 2017-2018
        Wisconsin Institutes for Medical Research, Building Interdisciplinary Research Careers in Women’s Health, Mentor for Tova
                 Walsh, 2016-2017
        Reviewer for UW2020 proposals, fall 2015, spring 2016, fall 2019, spring 2020
        PI Committee, 2010-2012
        Women’s Faculty Mentoring Program
                 Mentor for Kristin Lutz, Nursing, Spring 2006-2009
                 Mentor for Paja Charles, Social Work, Spring 2018-present
        Advisory Committee, DoIT “my UW Research” initiative, 2007-2009
        Morgridge Center Student and Community Awards Committee, Spring 2010
        Waisman Center, 1999-2017
                 Faculty member of MCH-LEND program; Weekly supervision and mentoring for Waisman Developmental
                          Disabilities Clinic psychologist and psychology trainees, 2009-2012
                 Waisman Center representative to the Wisconsin Internship Consortium for Professional Psychology Training
                          Committee, 2009-2010
                 Waisman Center Preservice Training Committee, faculty representative, 2010
                 Pro bono psychology supervision for staff in Waisman Developmental Disabilities Clinic, December 2008-February
                          2009; Fall 2012
                 Advisory Board, Family Village: A Global Community of Disability-Related Resources,
                          2004-2005; assisted with revision of the family village website
                          http://www.familyvillage.wisc.edu/index.htmlx
                 Faculty, Waisman Center's T32 Postdoctoral and Predoctoral Training Programs, 2000-2017
                          2001-2003: Mentor for Melissa Clements, Postdoctoral Fellow
                          2002-2003: Mentor for Lisa Brown, Predoctoral Fellow
                          2002-2003: Faculty liaison for Young Suk Cho, Visiting Scholar from Korea
                          2005-2008: Mentor for AJ Schwichtenberg, Predoctoral Fellow
                          2009-2011: Mentor for Beth McManus, RWJ Postdoctoral Fellow in Public Health
                          2011-2012: Mentor for Maria Spinelli, visiting doctoral student from University of Milan
                          2012-2014: Mentor for Emily Gerstein, Postdoctoral Fellow

University Presentations
Poehlmann, J., & Charles, P. (May, 2023). Trauma, healing, and families of the incarcerated. Research Collective for Justice-
        Involved Populations, UW-Madison.
Poehlmann, J. (November, 2022). Children with incarcerated parents. Graduate program in Clinical Psychology, UW-Madison.
Poehlmann-Tynan, J. (October, 2021). Children with parents involved in the criminal justice system. Graduate program in
        Neurobiology and Public Policy, UW-Madison.
Poehlmann-Tynan, J. (December, 2019). Health and the criminal justice system. Health Equity Symposium, Center for Pre-Health
        Advising and the Student Pre-Health Committee, UW-Madison.
Poehlmann-Tynan, J. (October, 2018). Public health crisis: Incarcerated women. Phi U Alumni Scholarship and Breakfast, School of
        Human Ecology.
Poehlmann-Tynan, J. (April, 2017). Children with incarcerated parents. Center for Healthy Minds.
Poehlmann-Tynan, J. (February, 2017). Making the most of your mentors. Assistant Professor Chats, Coordinated by Secretary of the
        Faculty.
Poehlmann-Tynan, J. (February, 2017). Problem behavior trajectories and resilience at age 6 in children born preterm. Waisman
        Center.
Poehlmann-Tynan, J. (March, 2016). Children with incarcerated parents. Elementary Education program.
Poehlmann-Tynan, J. (March, 2016). Children with incarcerated parents. Social Work doctoral program.
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                                                                                                                  J. Poehlmann      29
Poehlmann-Tynan, J. (February, 2015). Sesame Street’s Little Kids, Big Challenges: Incarceration initiative. Interdisciplinary
          Training Program, School of Education.
Poehlmann-Tynan, J. (February, 2014). Sesame Street’s Little Kids, Big Challenges: Incarceration initiative. Early Childhood
          Development Program, Waisman Center.
Poehlmann, J. (April, 2013). Collaborations with UW-Extension around Families Affected by Parental Incarceration. School of
          Human Ecology.
Poehlmann, J. (February, 2012). The Tenure Process. Presentation for the Waisman Center's T32 Postdoctoral Training Program
          Professional Development Series.
Poehlmann, J. (February, 2011). Maternal Resolution of Grief Following Preterm Birth. Presentation to Health Psychology,
          University of Wisconsin Hospitals and Clinics.
Poehlmann, J. (December, 2010). The Development of Self-Regulation in High Risk Infants. Presentation to the BioPop group in the
          School of Public Health.
Poehlmann, J. (March, 2010). Children of Incarcerated Parents. Presentation to the Institute for Research on Poverty.
Poehlmann, J. (March, 2010). Resilience in Children’s Social Emotional Adaptation: Disability and Risk in the Family Context.
          Presentation to the Leadership Education in Neurodevelopmental Disabilities program, Waisman Center.
Poehlmann, J. (March, 2009). Children of Incarcerated Mothers and Fathers. Presentation to the Journal of Gender, Law, and Social
          Issues Conference, UW-Madison Law School.
Schwichtenberg, A. J. M., & Poehlmann, J. (April, 2005). Early Social and Physiological Processes in the Development of Self-
          Regulation in High Risk Infants. Presentation to members of the Sävstaholms Foundation, Waisman Center.
Poehlmann, J., Magana, S., & Arnold, E. M. (February, 2005). NIH Grant Mechanisms. Waisman Center's Predoctoral and
          Postdoctoral Professional Development Series.
Park, J., & Poehlmann, J. (October, 2004). Parenting contexts of grandparents raising children of incarcerated mothers. Presented
          at the 16th Annual Colloquium on Aging, University of Wisconsin’s Institute on Aging, Madison, Wisconsin.
Poehlmann, J. (June, 2004). Family relationships and the development of high risk infants. Psychology Research Experience
          Program, Psychology Department.
Poehlmann, J., & Schwichtenberg, A. J. (September, 2003). Stress, coping, and resilience in families of children with disabilities.
          Waisman Center, Genetic Counseling Graduate Program.
Poehlmann, J., Magana, S., & Johnson-Glenberg, M. (November, 2001). NIH Small Grants, Waisman Center's Predoctoral and
          Postdoctoral Professional Development Series.
Poehlmann, J., & Magana, S. (April, 2001) Finding an Academic Position, Waisman Center's Predoctoral and Postdoctoral
          Professional Development Series.
Poehlmann, J., Seltzer, M., & Miller, J. (November, 2000). NIH Small Grants, Waisman Center's Predoctoral and Postdoctoral
          Professional Development Series.
Poehlmann, J. (October, 2000). Generations of research for women: From home economics to human ecology. 2000 University of
          Wisconsin-System Women's Studies Conference, Madison, Wisconsin.
Poehlmann, J., Shattuck, P., Seltzer, M., & Abbeduto, L. (September, 2000). Investing in the future: Training programs in
          behavioral research. Waisman Center Board of Visitors.
Poehlmann, J., & Brintnall-Peterson, M. (April, 2000). The impact of incarceration on the family: Integrating research and practice.
          Human Development and Family Studies Colloquium.

                                                         To the Profession
Editorial Positions
        Family Relations Editorial Board member, 2006-present
        Advances in Medicine Editorial Board member, 2015-present
        Journal of Marriage and Family Editorial Board member, 2012-2014
        Guest editor (with Jude Cassidy and Phil Shaver) of Special Issue of Attachment and Human Development focusing on
                 attachment in children affected by parental incarceration, published in July 2010
        Guest editor (with Daniel Perlman, Rodrigo Carcedo, and Noelia Fernandez-Rouco) of Special Issue of the International
                 Journal of Environmental Research and Public Health, published in June 2021
        Guest editor (with Justin Parent and Liliana Lengua) of Special Section of Mindfulness, 2023

National and International Committees
        National Council on Family Relations, Honor Student Award Committee, spring 2017-2020
        National Institute of Health’s All of Us Research Program, All of Us Wisconsin
             • Special Populations Committee, October 2017-June 2019
             • Pediatric Scientific Vision Task Force, January – June 2018
             • Pediatric Operations Task Force, June 2018-June 2019
             • Chair, Participant Provided Information (PPI) Pediatric Task Force, October 2018-June 2019
             • Pediatric Playbook team member, October 2020-July 2021
        International Coalition for Children of Incarcerated Parents, Board Member, 2018-2023
             • INCCIP Newsletter Editor, 2018-2021
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            •   INCCIP Secretary, 2019-2021

Ad-Hoc Journal Reviewer
       Child Development, Developmental Psychology, Development and Psychopathology, Journal of Family Psychology,
       Pediatrics, Journal of Pediatric Psychology, Journal of Marriage and Family, Family Relations, Attachment and Human
       Development, American Journal on Mental Retardation, Journal of Social and Personal Relationships, Journal of Addictions
       Research, Early Childhood Research Quarterly, Early Human Development, Journal of Offender Rehabilitation, Social
       Science and Medicine, Parenting: Science and Practice, Journal of Family Issues, Journal of Comparative Family Studies,
       Journal of Applied Developmental Psychology, Journal of Child and Family Studies, Journal of Children and Youth Services
       Review, Criminal Justice and Behavior, Journal of Experimental Child Psychology, Psychology of Violence, Stress and
       Health, Journal of Early Adolescence, Cochrane Collaboration’s Developmental, Psychosocial and Learning Problems
       Group (CDPLPG) Cochrane Library, Journal of Abnormal Psychology, Journal of Consulting and Clinical Psychology,
       International Journal of Qualitative Studies in Health and Well-being, Child: Care, Health & Development, Sociology of
       Education, Mindfulness, Social Psychological & Personality Science, Social Service Review, Women and Criminal Justice

Other Professional Service
       Grant reviews
            • Reviewer for National Council on Family Relation’s Olson Grant: Bridging Research, Theory, and Practice, spring
                2023
            • Ad-hoc reviewer for National Science Foundation, Developmental Science Program, spring 2018, fall 2020
            • Review committee for UW School of Medicine and Public Health ICTR grant proposals, 2017-2021
            • External Reviewer, Division des subventions de recherche et partenariats Social Sciences and Humanities Research
                Council of Canada, December 2017
            • Ad-hoc reviewer for National Science Foundation CAREER award, Sociology Program, fall 2016.
            • External reviewer for Social Sciences & Humanities Israel Science Foundation, spring 2016.
            • External reviewer for Social Sciences and Humanities Research Council of Canada, fall 2014 and 2016.
            • External reviewer for William T. Grant Foundation scholars program, fall 2014, 2019.
            • Reviewed grant applications for special emphasis NICHD panel (R03s), February 2010
            • Reviewed R03 for NICHD, November 2010
            • Reviewed grant applications (R15’s) for NIH review panel ZRG1 BBBP-D 52 R, RFA-OD-09-007: ARRA AREA
                Grants Panel 05, December 2009
            • Served as Stage 1 reviewer for NIH Challenge grant applications, June 2009 (National Institute on Alcohol Abuse
                and Alcoholism)
            • Served on NIH special emphasis review panel (National Institute of General Medical Sciences, March 2008);
                reviewed grant applications for mechanisms designed to increase research participation of investigators from
                underrepresented groups
            • Guest reviewer for National Institute on Drug Abuse - I/START grant program, December 2002-January 2003

        Conference proposal reviews
           • National Council on Family Relations annual conference, March 2023
           • Parenting and Parent-Child Relationships Panel Co-Chair, Society for Research in Child Development 2021 biennial
               conference, August-November 2020.
           • Reviewer for Society for Research in Child Development 2019 biennial conference, Parenting and Parent-Child
               Relationships, September 2018.
           • Reviewer for Society for Research in Child Development 2017 biennial conference, Panel 8: Family Context and
               Processes, September 2016.
           • Reviewer for Society for Research in Child Development 2013 biennial conference, Panel 11: At-Risk: Social and
               Emotional Processes & Personality, October 2012.
           • Reviewer for National Council on Family Relations annual conference, Social Policy Panel, March 2011 and 2013.
           • Reviewer for Society for Research in Child Development 2011 biennial conference, Panel 9: At-Risk: Social,
               Cognitive, Neurodevelopmental, Emotional, and Personality Processes, September 2010.
           • Reviewer for Society for Research in Child Development 2007 biennial conference, Panel 2: Social and Emotional
               Processes in Infancy, September 2006.

        Conference planning
           • On planning committee for NIDA Hybrid Workshop Engaging Child Welfare Systems in Research on Young
               Children Hybrid Workshop, May 2023 https://heal.nih.gov/news/events/engaging-child-welfare-systems
           • Co-organized Mindfulness, Self-Compassion, and Family Well-Being conference with Liliana Lengua and Justin
               Parent, University of Washington, October, 2023; organized pre-conference meeting Mindfulness Measurement
               Workshop: Innovative Approaches for Families, Schools, and Communities https://ccfwb.uw.edu/mindfulness-
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                                                                                                                 J. Poehlmann   31
                  research-conference-2023/
             •    Co-organized Mindfulness, Self-Compassion, and Parenting online research meeting with Liliana Lengua and Justin
                  Parent, University of Washington, April 2022. https://ccfwb.uw.edu/msp-research-meeting-2022/
             •    On organizing committee for National Conference on Children of Incarcerated Parents to plan for April 2022 and
                  April 2023 conferences at Arizona State University, Tempe, Arizona.
             •    On Board that assisted in planning International Coalition for Children with Incarcerated Parents biennial
                  conference, August 2019, University of Huddersfield, UK.
             •    Co-organized Prenatal to Five Statewide Summit: Elevating the Early Years, June 2017, Center for Child & Family
                  Well-being.
             •    Co-organized conference, with Christopher Wildeman and Anna Haskins, focusing on children with incarcerated
                  parents. Urie Bronfenbrenner Center for Translational Research, Cornell University, Ithaca, New York. Held in
                  September 2016.
             •    Organized Contemplative Practices Conferences, University of Wisconsin, 2013, 2015; Co-organized, Mindful
                  Parents, Schools, and Communities University of Washington, 2017
             •    Planning committee for Foundations of Human Development Conference on Attachment (Winter 1999-2000), a 2-
                  day conference for UW-Extension agents

         Mentoring and promotion and tenure reviews at other universities
            • Mentor to Assistant Professor, Abigail Novak, Department of Criminal Justice and Legal Studies, University of
                Mississippi, Early Career Interdisciplinary Scholars Fellowship Program, Society for Research in Child
                Development, 2023-2025
            • Mentor to Associate Professor Kristin Turney, University of California Irvine, Sociology Department, William T.
                Grant Scholars Program, 2016-2022
            • Mentor to Assistant Professor Rebecca Shlafer, University of Minnesota, Pediatrics Department, NIH Career Award,
                2011-2016
            • Mentor to Assistant Professor Tova Walsh, University of Wisconsin, School of Social Work, BIRCWH (Building
                Interdisciplinary Research Careers in Women's Health), NIH-funded mentoring program, 2015-2017
            • External reviewer for numerous promotion and tenure cases, 2011-present, at multiple R1 universities in the U.S.
                (not listed for confidentiality reasons; about 4 per year)

         Book proposal reviews
            • Regular review of book manuscripts for New York University Press, Chicago University Press, American
                Psychological Association Press, Ashford Press, University of California Press, Columbia University Press, etc.
                (2005-present)

         Contribution to policy briefs
            • Cramer, L., Goff, M., Peterson, B., & Sandstrom, H. (2017). Parent-Child Visiting Practices in Prisons and Jails.
                White paper published by the Urban Institute.
            • Peterson, B., Fontaine, J., Cramer, L., Reisman, A., Cuthrell, H., Goff, M., McCoy, E., and Reginal, T. (2019).
                Model Practices for Parents in Prisons and Jails: Reducing Barriers to Family Connections. White paper published
                by the BJA, NIC, Urban Institute & Community Works West.

         Legislative testimony
             • Inquiry on preventing harm to children with incarcerated parents, Parliament of Victoria, Australia, 2022
             • Wisconsin Assembly Bill 627, December 2021, rights of incarcerated parents
             • HSF-58, July 2001, kinship care benefits

Professional Affiliations
American Psychological Association
Society for Research in Child Development
World Association for Infant Mental Health
National Council on Family Relations
International Coalition for Children with Incarcerated Parents
American Association for the Advancement of Science

2023 Recent news:
    • https://goodmenproject.com/featured-content/sensitive-parenting-and-preschool-attendance-may-promote-academic-
        resilience-in-late-preterm-infants/
    • https://www.wkow.com/news/contact-visits-at-dane-county-jail-connect-parents-kids/article_2ec6f232-5c9e-11ee-83a0-
        abef0cbb1a90.html
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                                                                                                             J. Poehlmann     32
•   https://www.decaturlibrary.org/events/165536/when-are-you-coming-home-how-young-children-cope-when-parents-go-to-
    jail
•   https://www.nytimes.com/2013/11/26/health/families.html
•   https://pbswisconsin.org/watch/university-place/children-with-incarcerated-parents-cpkp0q/
•   https://humanecology.wisc.edu/new-book-explores-incarcerations-impact-on-children-and-families/
•   https://www.npr.org/2023/12/20/1219692753/jails-are-embracing-video-only-visits-but-some-experts-say-screens-arent-
    enough
•   https://captimes.com/news/local/govt-and-politics/reaching-out-to-dads-in-jail-fathers-and-children-do-better-when-parental-
    identity-is/article_1242078f-b4e6-59c8-9953-ab411f702c2b.html
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